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      individually, and on behalf of other
15    members of the public similarly
      situated
16                        UNITED STATES DISTRICT COURT
17                      CENTRAL DISTRICT OF CALIFORNIA
18                                SOUTHERN DIVISION
19
     MICHAEL HERNANDEZ & TAMMY                      Case No.:
20   TYLER, individually, and on behalf of
     other members of the public similarly          CLASS ACTION COMPLAINT
21   situated,
22              Plaintiffs,
23                      vs.
24
     HYUNDAI MOTOR AMERICA, INC., a
25   Delaware corporation, KIA MOTOR
     AMERICA, INC., a Delaware corporation,
26   and ZF TRW AUTOMOTIVE HOLDINGS
27   CORP., a Delaware corporation,
                Defendants.
28


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 1         For their complaint against Hyundai Motor America, Inc., Kia Motor America,
 2   Inc., and ZF TRW Automotive Holdings Corp. (collectively “Defendants”),
 3   Plaintiffs Michael Hernandez and Tammy Tyler (collectively “Plaintiffs”),
 4   individually, and on behalf of all other members of the public similarly situated,
 5   based on information and belief, allege as follows:
 6                              NATURE OF THE ACTION
 7          1.     This case presents yet another example of an airbag manufacturer and
 8    automakers conspiring to conceal a deadly airbag defect, once again putting profits
 9    ahead of safety. Indeed, over the past five years, tens of millions of U.S. consumers
10    have seen their Takata-manufactured airbags recalled for a deadly defect resulting
11    in seven automakers paying a collective $1.5 billion in class action settlements. In
12    this case, the National Highway Traffic Safety Administration (“NHTSA”)
13    estimates some 12.5 million vehicles may contain a defective Airbag Control Unit
14    (“ACU”) designed and manufactured by ZF-TRW and supplied to numerous
15    vehicle manufacturers, including Hyundai, Kia, Mitsubishi, Toyota, Honda and Fiat
16    Chrysler US (“FCA”). The defect in the ACU occurs because the application-
17    specific integrated circuit (“ASIC”) becomes over stressed by excess electrical
18    energy generated during the crash. This ASIC defect then causes a failure in the
19    ACU and neither the airbags nor the seat belt pretensioners will deploy.
20          2.     ZF-TRW, Hyundai, and Kia became aware of the ACU defect as early
21    as 2011, but did nothing to protect consumers or warn of the product dangers until
22    2018. From 2011 through 2015, ZF-TRW, Hyundai, and Kia investigated airbag
23    non-deployments in several Kia and Hyundai vehicles but failed to inform NHTSA
24    that there was an issue until the end of 2015. Even after advising NHTSA in 2015,
25    each of these companies downplayed the severity and frequency of these non-
26    deployment crashes. It was not until February and June of 2018 that Hyundai and
27    Kia, respectively, issued product recalls as to a small segment of their vehicles.
28    Throughout this nearly decade long period, unsuspecting U.S. consumers purchased

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 1    Class Vehicles (defined below) with defective ACUs which indisputably pose a
 2    grave safety risk.
 3          3.      The defective ACUs create a dangerous condition that gives rise to a
 4    clear, substantial, and unreasonable danger of death or personal injury. ZF-TRW,
 5    Hyundai, and Kia put profits ahead of safety by continuing to equip vehicles with
 6    ACUs year after year, even though they knew or should have known those ACUs
 7    were defective. Despite the number of airbag failures, injuries, and deaths caused
 8    by the ASIC Defect, ZF-TRW, Hyundai, and Kia were slow to fully investigate the
 9    problem and slow to report the danger to drivers and passengers of all ACU
10    equipped vehicles. Only after several deaths, injuries, and investigations did
11    Hyundai and Kia choose to recall a fraction of their vehicles equipped with the
12    ASIC Defect.
13          4.     As a result of this misconduct, Plaintiffs and members of the proposed
14    Classes were harmed and suffered actual damages. Plaintiffs and the Classes did
15    not receive the benefit of their bargain; rather, they purchased or leased vehicles
16    that are of a lesser standard, grade, and quality than represented, and they did not
17    receive vehicles that met ordinary and reasonable consumer expectations regarding
18    safe and reliable operation. Purchasers or lessees of the Class Vehicles paid more,
19    either through a higher purchase price or higher lease payments, than they would
20    have had the ASIC Defect been disclosed. Plaintiffs and the Classes were deprived
21    of having a safe, defect-free airbag installed in their vehicles, and ZF-TRW,
22    Hyundai, and Kia unjustly benefited from their unconscionable delay in recalling
23    its defective products, as they avoided incurring the costs associated with recalls
24    and installing replacement parts for years.
25          5.     Plaintiffs and the Classes also suffered damages in the form of out-of-
26    pocket and loss-of-use expenses and costs.
27          6.     Plaintiffs and the Classes also suffered damages as a result of ZF-
28    TRW, Hyundai, and Kia’s concealment and suppression of the facts concerning the

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 1    safety, quality, and reliability of Hyundai and Kia vehicles with the defective ACUs.
 2    ZF-TRW, Hyundai, and Kia’s false representations and omissions concerning the
 3    safety and reliability of those vehicles and their concealment of the known safety
 4    defects plaguing those vehicles and the Hyundai and Kia brands caused Plaintiffs
 5    and Class members to purchase, lease, or retain Hyundai and Kia vehicles of
 6    diminished value.
 7                             JURISDICTION AND VENUE
 8           7.    Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331,
 9    1961, 1962 and 1964, because Plaintiffs’ RICO and Magnusson-Moss claims arise
10    under federal law. Also, Jurisdiction is proper in this Court pursuant to the Class
11    Action Fairness Act, 28 U.S.C. § 1332(d), because members of the proposed
12    Plaintiff Classes are citizens of states different from each Defendant’s home state,
13    and the aggregate amount in controversy exceeds $5,000,000, exclusive of interest
14    and costs. Further, greater than two-thirds of the members of the Class reside in
15    states other than the states in which Defendants are a citizens.
16           8.    In addition, under 28 U.S.C. § 1367, this Court may exercise
17    supplemental jurisdiction over the state law claims because all of the claims are
18    derived from a common nucleus of operative facts and are such that Plaintiffs
19    ordinarily would expect to try them in one judicial proceeding.
20           9.    This Court has personal jurisdiction over Plaintiffs because Plaintiffs
21    submit to the Court’s jurisdiction.
22           10.   This Court also has personal jurisdiction over New Chrysler under 18
23    U.S.C. § 1965(d) because it is found, has agents, or transacts business in this
24    District.
25           11.   Venue lies within this judicial district under 28 U.S.C. § 1391(b)(1)
26    and (c)(2) because Defendants’ contacts are sufficient to subject them to personal
27    jurisdiction in this District, and therefore, Defendants reside in this District for
28    purposes of venue, or under 28 U.S.C. § 1391(b)(2) because certain acts giving rise

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 1    to the claims at issue in this Complaint occurred, among other places, in this
 2    District.
 3                                     THE PARTIES
 4     I.   Defendants
 5           12.   Hyundai Motor America, Inc. (“HMA”) is a Delaware corporation
 6    with its principal place of business located at 10550 Talbert Avenue, Fountain
 7    Valley, California. HMA is a citizen of the State of California.
 8           13.   Kia Motor America, Inc. (“KMA”) is a Delaware corporation with its
 9    principal place of business located at 111 Peters Canyon Road, Irvine, California.
10    KMA is a citizen of the State of California.
11           14.   ZF TRW Automotive Holdings Corp. (“ZF-TRW”), is a Delaware
12    corporation with its principal place of business located at 12001 Tech Center Drive,
13    Livonia, Michigan and ZF is a citizen of the States of Delaware and Michigan. ZF-
14    TRW was formed as of May 15, 2015 when ZF Friedrichshafen AG acquired TRW
15    Automotive Holdings Corp. All references to ZF-TRW include the actions of TRW
16    Automotive Holdings Corp. prior to the acquisition.
17    II.   Plaintiffs
18           15.   Plaintiff Michael Hernandez resides in Aliso Viejo, California. He
19    owns a 2019 Hyundai Sonata, which he purchased new in March 2019 from Tuttle-
20    Click Hyundai in Irvine, California. To Plaintiff’s knowledge, the airbags in his
21    vehicle have not been repaired or replaced. The value of Plaintiff’s 2019 Hyundai
22    Sonata has been diminished as a result of the ASIC Defect. If Plaintiff had known
23    about the ASIC Defect, Plaintiff would not have purchased his 2019 Hyundai
24    Sonata or would not have paid as much as he did for it.
25          16.    Plaintiff Tammy Tyler resides in Baton Rouge, Louisiana. She owns a
26   2013 Kia Forte, which she purchased new in January 2013 from All Star Kia in
27   Baton Rouge, Louisiana. To Plaintiff’s knowledge, the airbags in her vehicle have
28   not been repaired or replaced. The value of Plaintiff’s 2013 Kia Forte has been

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 1   diminished as a result of the ASIC Defect. If Plaintiff had known about the ASIC
 2   Defect, Plaintiff would not have purchased her 2013 Kia Forte or would not have
 3   paid as much as she did for it.
 4                        GENERAL FACTUAL ALLEGATIONS
 5    I.    Definitions
 6            17.   Plaintiffs bring this action on behalf of themselves and all persons
 7    similarly situated who purchased or leased Class Vehicles (defined below).
 8    Plaintiffs seek redress individually and on behalf of those similarly situated for
 9    economic losses stemming from ZF-TRW, HMK, and KMA’s manufacture, sale or
10    lease, and false representations concerning the defective airbags in the Class
11    Vehicles, including but not limited to diminished value. Plaintiffs, on behalf of
12    themselves and those similarly situated, seek to recover damages, statutory
13    penalties, and injunctive relief/equitable relief.
14            18.    “Class Vehicles” refers to the: (a) Kia Forte 2013; (b) Kia Forte Koup
15    2013;         (c) Kia Optima 2013-2019; (d) Kia Optima Hybrid 2012-2016; (e) Kia
16    Sedona 2014; (f) Hyundai Sonata 2013-2019; (g) Hyundai Sonata Hybrid 2013-
17    2019.
18            19.   “Defective ACUs” refers to all airbag control units designed and
19    manufactured by ZF-TRW that include ASICs that are susceptible to electrical
20    overstress (the “ASIC Defect”), including all ZF-TRW ACUs that were installed in
21    the Class Vehicles.
22            20.   “Hyundai-Kia Defendants” refers collectively to defendants HMA and
23    KMA.
24            21.   “Hyundai-Kia Entities” refers to all the below listed companies that
25    participated in the conduct for which Plaintiffs are bringing this action including
26    the Hyundai-Kia Defendants and Hyundai MOBIS Co. Ltd. (“MOBIS”), a foreign
27    limited liability company under the laws of South Korea that is a parts supplier for
28    the Kia and Hyundai family of companies.

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 1    II.     The ACU and ASIC Defect
 2             22.    The part of the airbag at issue in this matter is the ASIC that triggers
 3       airbag deployment. The Hyundai-Kia Defendants equipped each of the Class
 4       Vehicles with an Advanced Airbag System as well as an airbag control unit
 5       (“ACU”). The ACU was designed and manufactured by ZF-TRW. The ACU is
 6       designed to detect when a crash will occur and deploys the airbag to prevent injury
 7       to the driver and passengers of the vehicle. A crucial component of this crash
 8       detection system is an application-specific integrated circuit (“ASIC”).1 When the
 9       ASIC is functioning properly, the ACU will detect the severity of a crash, deploy
10       the airbags if necessary, and engage the seatbelt pretensioners.
11             23.    The ASIC in the Class Vehicles’ ACUs are defective because they are
12       susceptible to electrical overstress (“EOS”) which allows excess electrical signals
13       produced during the crash to overload the ASIC and prevent the deployment of the
14       airbag and the seat belt pretensioners.
15             24.    A failure of the ASIC due to EOS greatly increases the risk of injury
16       to the vehicle occupants during a crash. According to media reports, there were six
17       crashes in Hyundai and Kia vehicles as of March 2018 where the ASIC of the ACU
18       was overstressed. 2 From these accidents, four people were killed and six others
19       were injured.3
20             25.    In 2016, Fiat Chrysler Automobiles (“FCA”) issued a recall of over
21       1.4 million vehicles due to this defect.
22
23
24
     1
25     In the documents cited within this complaint, the ASIC is also referred to as the
     “ASIC.”
26   2
       Hyundai and Kia Under Scrutiny for Air Bag Failures After 4 Deaths, NBC
27   News, March 18, 2018, https://www.nbcnews.com/news/us-news/hyundai-kia-
28   under-scrutiny-air-bag-failures-after-4-deaths-n857701.
     3
       Id.

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 1              26.     After NHTSA began investigating other car manufacturers for similar
 2        non-deployments due to the ZF-TRW ACU, it was revealed that both Kia and
 3        Hyundai brand cars from model years 2011 through 2013 were plagued by this same
 4        defect. In February of 2018, Hyundai issued an initial recall for 150,000 vehicles
 5        due to the above defect, but in October of 2018 increased the number of vehicles
 6        recalled to 581,000. In August of 2018, Kia issued a recall for 507,000 vehicles due
 7        to the same defect.
 8              27.     On April 19, 2019, NHTSA issued a statement that the Office of
 9        Defects Investigation had decided to expand its investigation into the ASIC Defect,
10        which includes an estimated 12.3 million vehicles. The 2018 recalls by the
11        Hyundai-Kia Defendants were not sufficient to protect consumers from the dangers
12        of the defective ACU.4
13              28.     The Hyundai-Kia Defendants and ZF-TRW knew and had reason to
14        know of this defect well before the issuance of any recalls in 2018, but concealed
15        this defect from the public. Defendants worked in concert to delay the reporting of
16        this defect to consumers and to regulators to protect each Defendant’s financial
17        interests. Further, the Defendants acted to conceal the depth of this problem and the
18        number of incidents that occurred worldwide. Only after multiple years, accidents,
19        deaths, and formal investigations did the Defendants begin to act to correct a
20        problem that should never have occurred.
21 III.        Defendants Knew of the ACU Defect Years before Instituting a Partial
22             Recall
23              29.     As early as August of 2011, the Defendants knew of the problems with
24        the ASIC but chose to cover up these facts. There was a motor vehicle crash in
25        China involving a Kia Forte where the airbags did not deploy. MOBIS requested
26
27
      4
28     NHTSA, ODI Resume, April 19, 2019, Investigation: EA 19-001,
      https://static.nhtsa.gov/odi/inv/2018/INOA-PE18003-9810.PDF.

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 1        that ZF-TRW analyze the crash data to determine why there was no deployment.
 2        ZF-TRW observed that there was damage to the ASIC that was “consistent with
 3        EOS.” 5 Instead of investigating the matter further, the Hyundai-Kia Motor
 4        Company (“HKMC”) “communicat[ed] its assessment that the incident was a
 5        commanded nondeployment”6 and considered the matter closed.
 6              30.    Despite HKMC’s attempts to sweep the defects under the rug,
 7        Defendants became aware of several other non-deployment incidents. In February
 8        2012, HMA was notified of a collision involving a 2011 Hyundai Sonata in which
 9        the airbag failed to deploy. The investigation revealed that the ASIC failed due to
10        EOS. However, HMA concluded that the problem was due to “numerous
11        aftermarket accessories installed in the vehicle” and was not related to any prior
12        non-deployment accidents.7
13              31.   In March of 2012, MOBIS again referred a post-crash analysis to ZF-
14        TRW related to failed airbag deployment—this time for a crash involving a Kia
15        Forte in Egypt. Once again, ZF-TRW found that the ASIC damage was “consistent
16        with EOS,” and once again HKMC “communicat[ed] its assessment that the
17        incident was a commanded nondeployment.”8 After this analysis in May of 2012,
18        ZF-TRW communicated directly with HKMC and MOBIS “about the investigation
19        of field events observed with EOS.”9 As of 2012, nothing was reported publicly
20
21    5
        Part 573 Safety Recall Report filed by ZF-TRW, TRW Automotive Inc. (ZF)
22    Chronology, available at https://oemdtc.com/1408/air-bags-seat-belt-
23    pretensioners-may-be-disabled-trw-air-bag-control-units [hereinafter ZF
      Chronology].
24    6
        Id.
      7
25      Part 573 Safety Recall Report filed by HMA, Attachment A, Amended
      Chronology, available at https://static.nhtsa.gov/odi/rcl/2018/RMISC-18V137-
26
      8310.pdf [hereinafter Hyundai Chronology].
27
      8
28        ZF Chronology, supra note 5.
      9
          Id.

                                                  11
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 1     about the danger of EOS of ASICs in the ACUs manufactured and installed in the
 2     Class Vehicles.
 3           32.    As late as May of 2013, ZF-TRW documented a “potential warranty
 4     concern” related to the ACU ASIC. 10 This document was circulated to vehicle
 5     manufacturers, including under information and belief the Hyundai-Kia Entities.11
 6     This document described a potential condition of the ASIC that resulted in an
 7     intermittent power connection, which may cause EOS damage to the ASIC.12 This
 8     document also recommended countermeasures to prevent such damage.13
 9           33.    In March of 2014, KMA received notice of a lawsuit complaint
10     alleging non- deployment of an airbag in a 2012 Kia Forte. Approximately one year
11     later in March of 2015, KMA began to examine the airbag and determine the cause
12     for the failure to deploy.14
13           34.    It is important to note that during the time period where the Defendants
14     were first learning about the defect with the ASICs, Hyundai was being investigated
15     by NHTSA for improperly delaying a recall of Genesis cars to fix a brake defect.15
16     In 2014, Hyundai agreed to settle the matter, and NHTSA stated that Hyundai “must
17     change the way they deal with safety-related defects.”16 In 2016, a whistleblower
18
19    10
         Part 573 Safety Recall Report filed by FCA, FCA Chronology, available at
20    https://static.nhtsa.gov/odi/rcl/2016/RMISC-16V668-4323.pdf [hereinafter FCA
21    Chronology].
      11
         See id.
22    12
         Id.
      13
23       Id.
      14
         Part 573 Safety Recall Report filed by KMA, KMA Chronology, available at
24    https://static.nhtsa.gov/odi/rcl/2018/RMISC-18V363-5570.pdf [hereinafter Kia
25    Chronology].
      15
         David Shepardson, U.S. Probes Air Bag Failures in Deadly Hyundai, Kia Car
26
      Crashes, Reuters, March 17, 2018, https://www.reuters.com/article/us-autos-
27    recall/u-s-probes-air-bag-failures-in-deadly-hyundai-kia-car-crashes-
28    idUSKCN1GT0HD.
      16
         Id.

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 1     within of one of the Hyundai-Kia Defendants also reported concerns to NHTSA
 2     about the scope and timeliness of three recalls carried out in the U.S.17
 3           35.    In February of 2015, HMA requested that ZF-TRW review data from
 4     another crash in which the airbags in a Hyundai Sonata did not deploy. 18 ZF-TRW
 5     did not analyze these results until April of 2016.19 Once again, ZF-TRW found that
 6     the ASIC damage was “consistent with EOS,” and once again HKMC
 7     “communicat[ed] its assessment that the incident was a commanded
 8     nondeployment.”20
 9           36.    In May of 2015, HMA was notified of a collision involving yet another
10     2011 Sonata where the airbags failed to deploy. HMA did not inspect the vehicle or
11     the ACU until October of 2015, and also requested assistance from ZF-TRW. ZF-
12     TRW’s analysis indicated that internal damage to the ASIC due to EOS.21 NHTSA
13     investigation into the ACU ASIC Defect began at some point during the summer of
14     2015.22
15           37.    While the Defendants were investigating several airbag non-
16     deployment crashes in 2015 and 2016, ZF-TRW was also performing an in depth
17     analysis of several crashes related to FCA’s investigation into the ASIC Defect.23
18     ZF-TRW was heavily involved in FCA’s investigation into 11 crashes involving
19     airbag non-deployment.24 As early as June of 2015, ZF-TRW proposed that the
20     EOS failures of the ASIC could be due to excess electrical charge generated during
21
22
23    17
         Id.
24    18
         ZF Chronology, supra note 5.
      19
25       Id.
      20
         Id.
26    21
         Hyundai Chronology, supra note 7.
      22
27       Kia Chronology, supra note 14.
      23
28       FCA Chronology, supra note 10
      24
         Id.

                                                13
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 1     the crash, 25 which was a critical development in the investigation. Despite this
 2     knowledge, ZF-TRW refused to connect the EOS problems in the Hyundai and Kia
 3     vehicle to the defect discovered in the FCA investigation until February of 2018.26
 4           38.   From June 2015 through January of 2016, KMA and the Kia Motor
 5     Company (“KMC”) attempted to determine the cause of two non-deployments in
 6     Kia Forte vehicles. KMA, KMC, MOBIS, and ZF-TRW performed inspections and
 7     analyses of these vehicles and incidents. 27 ZF-TRW analyzed the data in early
 8     December of 2015 and found that in both vehicles’ ACUs, the ASICs were damaged
 9     by EOS.28 Once again HKMC stepped in and “communicat[ed] its assessment that
10     one of the incidents was a commanded nondeployment and the other [was] under
11     investigation.”29 HMKC, MOBIS, and ZF-TRW also begin to engage in regular
12     meetings to discuss how they would handle the NHTSA investigation and non-
13     deployments. On February 5, 2016, ZF-TRW held a voluntary meeting with
14     NHTSA to discuss the ACU investigation and the number of incidents involving
15     non deployed airbags across multiple manufacturers.30 Twenty days later, ZF-TRW
16     met with HKMC and MOBIS to discuss ZF-TRW’s meeting with NHTSA and the
17     “incidents involving nondeployments with observed EOS.”31 In May of 2016, ZF-
18     TRW met with HKMC and MOBIS in person again to discuss the investigation. On
19     July 19, 2016, ZF-TRW attended another meeting with the NHSTA, and 20 days
20     later attended another in person meeting with HKMC and MOBIS to discuss the
21     NHTSA meeting.32 In July and August of 2016, ZF-TRW informed HKMC that
22
23    25
         Id.
24    26
         Hyundai Chronology, supra note 7.
      27
25       Kia Chronology, supra note 14.
      28
         ZF Chronology, supra note 5.
26    29
         Id.
      30
27       Id.
      31
28       Id.
      32
         Id.

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 1     that discussions with NHTSA and FCA did not require a recall by the Hyundai-Kia
 2     Defendants.33
 3           39.    On information and belief, Defendants engaged in discussions to delay
 4     and otherwise diffuse the NHTSA investigation into the Hyundai-Kia Defendants’
 5     actions. Despite knowledge of approximately ten crashes around the world
 6     involving Hyundai or Kia vehicles with EOS damage to the ASICs of the ACUs,
 7     Defendants worked together to obstruct the NHTSA investigation and to delay any
 8     recall as far into the future as possible. On information and belief, the Hyundai-Kia
 9     Defendants repeatedly misrepresented the cause of airbag non-deployment in many
10     crashes, or concealed the true causes, so that it appeared the ASIC Defect did not
11     occur in Hyundai and Kia vehicles.
12           40.    Between July and November of 2016, HMA received reports of two
13     additional 2011 Sonata crashes where airbag non-deployments were observed.34
14     HMA referred the ACUs for review to ZF-TRW. ZF-TRW downloaded the data in
15     November of 2016 and February of 2017.35 In August of 2016, KMA requested that
16     ZF-TRW download and review ACU data for another Kia Forte crash involving the
17     non-deploying of an airbag.36 In March of 2017, MOBIS requested an analysis for
18     another crash involving a Kia Forte in China where the airbag did not deploy.37
19           41.    In August of 2017, ZF-TRW analyzed the data from two of the
20     Hyundai Sonata crashes and one of the Kia Forte crashes.38 In all three crashes, ZF-
21     TRW observed damage to the ASICs that is consistent with EOS. HKMC then
22
23
24
      33
25       Kia Chronology, supra note 14.
      34
         Hyundai Chronology, supra note 7.
26    35
         ZF Chronology, supra note 5.
      36
27       Id.
      37
28       Id.
      38
         Id.

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 1     communicated its usual message “that all three incidents were commanded
 2     nondeployments.”39
 3               42.   On February 27, 2018, HMA issued the voluntary recall of all 2011
 4     model year Sonatas due to the ASIC Defect. Then on June 1, 2018, KMA agreed to
 5     voluntarily recall all 2010 through 2013 model year Fortes and Forte Koups, all
 6     2011 through 2013 model year Optimas, Opitma Hybrids, and all 2011 through
 7     2012 model year Sedonas. Finally, in October of 2018, HMA expanded its recall to
 8     all 2011 through 2013 model year Sonatas, and all 2011 through 2012 Sonata
 9     Hybrids.
10 IV.           Defendants’ Misrepresentation and Omissions to the Public and NHTSA
11               43.   At all relevant times, in advertisements and promotional materials, the
12     Hyundai-Kia Defendants continuously maintained that Hyundai and Kia-branded
13     vehicles were safe and reliable and uniformly concealed the ASIC Defect. Plaintiffs,
14     directly or indirectly, were exposed to these advertisements or promotional
15     materials prior to purchasing or leasing Class Vehicles. The misleading statements
16     about Class Vehicles’ safety in the Hyundai-Kia Defendants’ advertisements and
17     promotional materials were material to decisions to purchase or lease Class
18     Vehicles.
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28    39
           Id.

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 1             44.   The Hyundai-Kia Defendants both advertise their vehicles as safe and
 2     reliable vehicles with safety as one of their top priorities. Hyundai makes the
 3     following claims on its advertising website:40
 4
 5
 6
 7
 8
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13
              45.    Kia goes even further to make explicit safety claims as to its airbag
14
      systems:41
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               46.   Defendants also made misrepresentations to the public, through
24
       NHTSA, when reporting incidents to NHTSA. On information and belief, the
25
       Hyundai-Kia Defendants purposefully omitted the reports of airbag non-
26
27
      40
28         https://www.hyundaiusa.com/why-hyundai/safety.aspx.
      41
           https://www.kia.com/us/en/content/technology/safety.

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 1     deployment crashes outside of North America where it was found that the ASIC
 2     was damages by EOS.42
 3             47.   Defendants also misrepresented the results of their investigations. In
 4     eight separate crashes involving non-deployments, ZF-TRW concluded eight times
 5     that the damage to the ASICs were consistent with EOS and in each of those eight
 6     crashes the Hyundai-Kia Defendants concluded that the failure to deploy the airbag
 7     was either inconclusive or was the result of a “commanded nondeployment.” 43 As
 8     a result, the Defendants represented, to NHTSA and the public that the incidents of
 9     EOS damage to the ASIC were much less frequent than what actually occurred.
10                   TOLLING OF THE STATUTE OF LIMITATIONS
11      I.    Fraudulent Concealment
12             48.   Defendants have known of the ASIC Defect since at least August
13     2011, when they first learned that airbag non-deployments were caused by the ASIC
14     Defect as a result of EOS. Defendants obtained further knowledge of the ASIC
15     Defect after August 2011, when they learned of the results of additional field
16     incidents involving the Defective ACUs, and recalls by other automakers.
17     Defendants have concealed from, or failed to notify, Plaintiffs, Class members, and
18     the general public of the full and complete nature of the ASIC Defect.
19             49.   Although the Hyundai-Kia Defendants acknowledged in 2018 to
20     safety regulators that some of the ACUs were defective, for years, the Hyundai-Kia
21     Defendants did not fully investigate or disclose the seriousness of the issue and in
22     fact concealed and downplayed the widespread prevalence of the problem. To this
23     day ZF-TRW has refused to acknowledge that their product is defective or initiate
24     a recall of its Defective ACUs.
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      42
28         ZF Chronology, supra note 5.
      43
           Id.

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 1           50.    Any applicable statute of limitations has therefore been tolled by
 2     Defendants’ knowledge, active concealment, and denial of the facts alleged herein,
 3     which behavior is ongoing.
 4     II.   Estoppel
 5           51.    Defendants were, and are, under a continuous duty to disclose to
 6     Plaintiffs and proposed Class members the true character, quality, and nature of the
 7     Class Vehicles. They actively concealed the true character, quality, and nature of
 8     the vehicles, and knowingly made misrepresentations about the quality, reliability,
 9     characteristics, and performance of the vehicles. Plaintiffs and proposed Class
10     members reasonably relied upon Defendants’ knowing, and affirmative
11     misrepresentations and/or active concealment of these facts. Based on the
12     foregoing, Defendants are estopped from relying on any statute of limitations in
13     defense of this action.
14 III.      Discovery Rule
15           52.    The causes of action alleged here did not accrue until Plaintiffs and
16     proposed Class members discovered that their vehicles had the Defective ACUs.
17           53.    Plaintiffs and proposed Class members, however, had no realistic
18     ability to discern that their vehicles were defective, until after either the Defective
19     ACUs failed, or their vehicles were recalled. Even then, Plaintiffs and proposed
20     Class members would have had no reason to discover their causes of action, because
21     of Defendants’ active concealment of the true nature of the defect.
22                               CLASS ACTION ALLEGATIONS
23           54.    The proposed Classes’ claims all derive directly from a single course
24     of conduct by Defendants. This case is about the responsibility of Defendants, at
25     law and in equity, for their knowledge, conduct, and products. Defendants have
26     engaged in uniform and standardized conduct toward the proposed Classes. They
27     did not differentiate, in degree of care or candor, in their actions or inactions, or in
28     the content of its statements or omissions, among individual Class members. The

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 1     objective facts on these subjects are the same for all Class members. Within each
 2     Claim for Relief asserted by the respective proposed Classes, the same legal
 3     standards govern. Additionally, many—and for some, all—states share the same
 4     legal standards and elements of proof, facilitating the certification of multistate or
 5     nationwide classes for some or all claims. Accordingly, Plaintiffs bring this lawsuit
 6     as a class action on their own behalf, and on behalf of all other persons similarly
 7     situated, as members of the proposed Classes pursuant to Federal Rules of Civil
 8     Procedure 23(a), (b)(2), and/or (b)(3), and/or (c)(4). This action satisfies the
 9     numerosity, commonality, typicality, adequacy, predominance, and superiority
10     requirements of those provisions.
11      I.   The Class
12           55.    Plaintiffs bring this action, and seek to certify and maintain it as a class
13     action, under Federal Rules of Civil Procedure 23(a), (b)(2), and/or (b)(3), and/or
14     c(4), on behalf of themselves, and a Nationwide Consumer Class defined as follows:
15              All persons in the United States who purchased or leased a Class
16              Vehicle.
17           56.    Excluded from each Class are ZF-TRW, and the Hyundai-Kia
18     Defendants; their employees, officers, directors, legal representatives, heirs, and
19     successors; wholly or partly owned subsidiaries or affiliates of Defendants; Class
20     Counsel and their employees; and the judicial officers, their immediate family
21     members, and associated court staff assigned to this case.
22     II.   Numerosity
23           57.    This action satisfies the requirements of Federal Rule of Civil
24     Procedure 23(a)(1). There are millions of Class Vehicles nationwide. Individual
25     joinder of all Class members is impracticable.
26           58.    Each of the Classes are ascertainable because their members can be
27     readily identified using vehicle registration records, sales records, production
28     records, and other information kept by Defendants or third parties in the usual

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 1     course of business and within their control. Plaintiffs anticipate providing
 2     appropriate notice to the Class in compliance with Federal Rules of Civil Procedure
 3     23(c)(1)(2)(A) and/or (B), to be approved by the Court after class certification, or
 4     pursuant to court order under Rule 23(d).
 5 III.     Predominance of Common Issues
 6           59.    This action satisfies the requirements of Federal Rules of Civil
 7     Procedure 23(a)(2) and (b)(3), because questions of law and fact that have common
 8     answer and predominate over questions affecting only individual Class members.
 9     These include, without limitation, the following:
10                 (a)       Whether the Class Vehicles suffer from the ASIC Defect;
11                 (b)       Whether Defendants knew, or should have known, about the
12                 ASIC Defect, and, if so, how long Defendants have known of the
13                 defect;
14                 (c)       Whether Defendants had a duty to disclose the defective nature
15                 of the Class Vehicles to Plaintiffs and Class members;
16                 (d)       Whether Defendants omitted and failed to disclose material
17                 facts about the Class Vehicles;
18                 (e)       Whether Defendants’ concealment of the true defective nature
19                 of the Class Vehicles induced Plaintiffs and Class members to act to
20                 their detriment by purchasing the Class Vehicles;
21                 (f)       Whether Defendants’ conduct tolls any or all applicable
22                 limitations periods by acts of fraudulent concealment, application of the
23                 discovery rule, or equitable estoppel;
24                 (g)       Whether Defendants misrepresented that the Class Vehicles
25                 were safe;
26                 (h)       Whether Defendants engaged in unfair, deceptive, unlawful
27                 and/or fraudulent acts or practices, in trade or commerce, by failing to
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 1                disclose that the Class Vehicles were designed, manufactured, and sold
 2                with defective airbag components;
 3                (i)    Whether Defendants’ conduct, as alleged herein, was likely to
 4                mislead a reasonable consumer;
 5                (j)    Whether Defendants’ statements, concealments, and omissions
 6                regarding the Class Vehicles, were material, in that a reasonable
 7                consumer could consider them important in purchasing, selling,
 8                maintaining, or operating such vehicles;
 9                (k)    Whether Defendants violated State consumer protection
10                statutes, and if so, what remedies are available under those statutes;
11                (l)    Whether the Class Vehicles were unfit for the ordinary purposes
12                for which they were used, in violation of the implied warranty of
13                merchantability;
14                (m)    Whether Defendants’ unlawful, unfair, and/or deceptive
15                practices harmed Plaintiffs and the Classes;
16                (n)    Whether the Class Vehicles have suffered a diminution of value
17                as a result of those Vehicles’ incorporation of the airbags at issue;
18                (o)    Whether Defendants have been unjustly enriched by its conduct;
19                (p)    Whether Defendants should be declared responsible for
20                notifying all Class members of the ASIC Defect, and ensuring that all
21                vehicles with the airbag ASIC Defect are promptly recalled and
22                repaired;
23                (q)    Whether Defendants conspired with others to violate RICO; and
24                (r)    Whether Defendants associated with any enterprise engaged in,
25                or the activities of which affect, interstate or foreign commerce, to
26                conduct or participate, directly or indirectly, in the conduct of such
27                enterprise’s affairs through a pattern of racketeering activity.
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 1 IV.      Typicality
 2           60.    This action satisfies the requirements of Federal Rule of Civil
 3     Procedure 23(a)(3), because Plaintiffs’ claims are typical of the claims of the Class
 4     members, and arise from the same course of conduct by Defendants. The relief
 5     Plaintiffs seek is typical of the relief sought for the absent Class members.
 6     V.   Adequate Representation
 7           61.    Plaintiffs will fairly and adequately represent and protect the interests
 8     of the Classes. Plaintiffs have retained counsel with substantial experience in
 9     prosecuting consumer class actions, including actions involving defective products.
10           62.    Plaintiffs and their counsel are committed to vigorously prosecuting
11     this action on behalf of the Classes, and have the financial resources to do so.
12     Neither Plaintiffs nor their counsel have interests adverse to those of the Classes.
13     VI. Superiority
14           63.    This action satisfies the requirements of Federal Rule of Civil
15     Procedure 23(b)(2), because Defendants have acted and refused to act on grounds
16     generally applicable to each Class, thereby making appropriate final relief with
17     respect to each Class as a whole.
18           64.    This action satisfies the requirements of Federal Rule of Civil
19     Procedure 23(b)(3), because a class action is superior to other available methods for
20     the fair and efficient adjudication of this controversy. The common questions of law
21     and fact regarding Defendants’ conduct and responsibility predominate over any
22     questions affecting only individual Class members.
23           65.    Because the damages suffered by each individual Class member may
24     be relatively small, the expense and burden of individual litigation would make it
25     very difficult or impossible for individual Class members to redress the wrongs
26     done to each of them individually, such that most or all Class members would have
27     no rational economic interest in individually controlling the prosecution of specific
28     actions; and the burden imposed on the judicial system by individual litigation—by

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 1     even a small fraction of the Class—would be enormous, making class adjudication
 2     the superior alternative under Federal Rule of Civil Procedure 23(b)(3)(A).
 3           66.    The conduct of this action as a class action presents far fewer
 4     management difficulties; far better conserves judicial resources, and the parties’
 5     resources; and far more effectively protects the rights of each Class member than
 6     would piecemeal litigation. Compared to the expense, burdens, inconsistencies,
 7     economic infeasibility, and inefficiencies of individualized litigation, the challenges
 8     of managing this action as a class action are substantially outweighed by the benefits
 9     to the legitimate interests of the parties, the court, and the public of class treatment
10     in this court, making class adjudication superior to other alternatives, under Federal
11     Rule of Civil Procedure 23(b)(3)(D).
12           67.    Plaintiffs are not aware of any obstacles likely to be encountered in the
13     management of this action that would preclude its maintenance as a class action.
14     Federal Rule of Civil Procedure 23 provides the Court with the authority and
15     flexibility to maximize the efficiencies and benefits of the class mechanism, and
16     reduce management challenges. The Court may, on motion of Plaintiffs, or on its
17     own determination, certify nationwide, statewide and/or multistate classes for
18     claims sharing common legal questions; utilize the provisions of Rule 23(c)(4) to
19     certify any particular claims, issues, or common questions of fact or law, for class-
20     wide adjudication; certify and adjudicate bellwether class claims; and utilize Rule
21     23(c)(5) to divide any Class into subclasses.
22           68.    The Classes expressly disclaim any recovery in this action for physical
23     injury resulting from the ASIC Defect without waiving or dismissing such claims.
24     Plaintiffs are informed and believe that injuries suffered in crashes as a result of
25     Defective ACUs implicate the Class Vehicles; constitute evidence supporting
26     various claims, including diminution of value; and are continuing to occur because
27     of Defendants’ delays and inaction regarding the commencement and completion
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 1     of recalls. The increased risk of injury from the ASIC Defect serves as an
 2     independent justification for the relief sought by Plaintiffs and the Classes.
 3           REALLEGATION AND INCORPORATION BY REFERENCE
 4           69.    Plaintiffs reallege and incorporate by reference all of the preceding
 5     paragraphs and allegations of this Complaint, including the Nature of Claims,
 6     Factual Allegations, Tolling Allegations, and Class Action Allegations, as though
 7     fully set forth in each of the following Claims for Relief asserted on behalf of the
 8     Nationwide Class and the Statewide Classes.
 9                                  CLAIMS FOR RELIEF
10 VI.      Nationwide Claims
11          A. Federal Claims
12                                           Count 1
13        Violation of the Racketeer Influenced and Corrupt Organizations Act
14                                     18 U.S.C. § 1962(c)
15           70.    Plaintiffs bring this claim on behalf of themselves, and the members
16     of the proposed Nationwide Class, against the Defendants, with regard to the
17     defective ACUs that the Defendants manufactured, sold, or misrepresented as safe.
18           71.    The Hyundai-Kia Defendants, ZF-TRW, and MOBIS are all “persons”
19     under 18 U.S.C. § 1961(3).
20           72.    Plaintiffs and Class members are “person[s] injured in his or her
21     business or property” by reason of the Hyundai-Kia Defendants’ and ZF-TRW’s
22     violation of RICO within the meaning of 18 U.S.C. § 1964(c).
23           73.    Since the first reports of the ASIC Defect in 2011, ZF-TRW and the
24     Hyundai-Kia Defendants shared information about airbag non-deployments, jointly
25     and secretly; investigated the possible causes of those failed deployments; delayed
26     and/or prevented the release of inculpatory information; misled regulatory
27     authorities; and maintained a consistent public posture as to the scope of vehicles
28     affected by the Defective ACUs, and the safety risks those airbags posed. The

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 1     Hyundai-Kia Defendants’ close cooperation with ZF-TRW on issues surrounding
 2     the ASIC Defect, and joint participation in predicate acts described below, evidence
 3     not only the formation of a common purpose to conduct the Defective ACU RICO
 4     Enterprise through a pattern of racketeering activity, but also a conspiracy to
 5     participate in a RICO enterprise by conducting the affairs of such an enterprise
 6     through a pattern of racketeering activity.
 7                 i.      The Defective ACU RICO Enterprise
 8           74.        The following persons, and others currently unknown, are or have been
 9     members of, and constitute an “association-in-fact enterprise,” within the meaning
10     of RICO, and will be referred to herein collectively as the Defective ACU RICO
11     Enterprise:
12                   (a)      ZF-TRW, who, designed and manufactured the Defective ACUs
13                   and provided services to the Hyundai-Kia Defendants and MOBIS in
14                   the event of post-crash investigations. ZF-TRW knew that the ACUs
15                   contained the dangerous ASIC Defect, the scope and nature of which
16                   they concealed from and misrepresented to the public and regulators for
17                   close to a decade and still refuse to entirely acknowledge.
18                   (b)      MOBIS, who, with ZF-TRW’s guidance, supplied millions of
19                   Defective ACUs knowing that they contained the ASIC Defect, the
20                   scope and nature of which they concealed from and misrepresented to
21                   the public and regulators for close to a decade and still refuse to entirely
22                   acknowledge.
23                   (c)      The Hyundai-Kia Defendants, who designed, manufactured,
24                   and sold millions of vehicles equipped with Defective ACUs that it
25                   knew, or were reckless in not knowing, contained the ASIC Defect, the
26                   scope and nature of which they concealed from and misrepresented to
27                   the public and regulators since August of 2011, while falsely and
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 1                 inaccurately representing that their vehicles were safe, thereby
 2                 deceiving Plaintiffs and Class members.
 3           75.    The Defective ACU RICO Enterprise, which engaged in, and whose
 4     activities affected interstate and foreign commerce, includes individuals and
 5     corporate entities associated in fact within the meaning of 18 U.S.C. § 1961(4) and
 6     consists of “persons” associated together for a common purpose. The Defective
 7     ACU RICO Enterprise had an ongoing organization with an ascertainable structure
 8     and functioned as a continuing unit with separate roles and responsibilities.
 9           76.    At all relevant times, Defendants operated, controlled, or managed the
10     Defective ACU RICO Enterprise through a variety of actions. The Hyundai-Kia
11     Defendants’ participation in the Defective ACU RICO Enterprise was necessary for
12     the successful operation of its scheme to defraud, because the Hyundai-Kia
13     Defendants manufactured, marketed, and sold Class Vehicles with the Defective
14     ACUs; concealed the nature and scope of the ASIC Defect; and profited from such
15     concealment. ZF-TRW’s participation in the Defective ACU RICO Enterprise was
16     necessary for the successful operation of the scheme to defraud, because ZF-TRW
17     designed and provided support related to analysis of ACU data. Finally, MOBIS’s
18     participation in the scheme was necessary for the successful operation of the
19     enterprise, because MOBIS supplied the Defective ACU components that were
20     installed in the Class Vehicles.
21           77.    The members of the Defective ACU RICO Enterprise all served a
22     common purpose: to maximize the revenue and profitability of its members by
23     delaying the recall of the Defective ACUs and continuing to unlawfully sell
24     unreasonably dangerous vehicles containing Defective ACUs.
25           78.    The members of the Defective ACU RICO Enterprise pursued their
26     common purpose by engaging in a pattern of racketeering activity that included a
27     common fraudulent scheme to increase sales by omitting information from the
28     public regarding the defects in the airbags. Each member of the Defective ACU

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 1     RICO Enterprise benefited from the common purpose and the common fraudulent
 2     scheme that supported it. Specifically, the Hyundai-Kia Defendants sold or leased
 3     more Class Vehicles and received more for those vehicles than they would have
 4     otherwise, had the scope and nature of the ASIC Defect not been concealed.
 5     Similarly, ZF-TRW and MOBIS sold more Defective ACUs to the Hyundai-Kia
 6     Defendants than they would have otherwise, had the scope and nature of the ASIC
 7     Defect not been concealed.
 8                 ii.     Pattern of Racketeering Activity
 9           79.         The Hyundai-Kia Defendants, ZF-TRW, and MOBIS conducted and
10     participated in the conduct of the affairs of the Defective ACU RICO Enterprise
11     through a long-running pattern of racketeering activity, beginning August of 2011,
12     and continuing to this day, consisting of numerous and repeated violations of the
13     federal mail and wire fraud statutes, which prohibit the use of any interstate or
14     foreign mail or wire facility for the purpose of executing a scheme to defraud, in
15     violation of 18 U.S.C. §§ 1341 and 1343.
16           80.         For Defendants, the purpose of the scheme to defraud was to conceal
17     the scope and nature of the ASIC Defect found in millions of Defective ACUs in
18     the United States in order to avoid incurring the expenses associated with repairing
19     the ASIC Defect in vehicles that the Hyundai-Kia Defendants were obligated to
20     recall. By concealing the scope and nature of the ASIC Defect in its millions of
21     Defective ACUs, Defendants also maintained and boosted consumer confidence in
22     the Hyundai and Kia brands and avoided remediation costs and negative publicity,
23     all of which furthered the scheme to defraud and helped the Hyundai-Kia
24     Defendants, ZF-TRW, and MOBIS sell more vehicles and airbags than they
25     otherwise would have sold and for a much higher price or profit.
26           81.         As detailed in the general factual allegations, Defendants were well
27     aware of the risks of an EOS event damaging the ASIC during a crash event but
28     intentionally subjected Plaintiffs and Class members to those risks, or consciously

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 1     disregarded those risks, in order to maximize their profits. Moreover, even after the
 2     Defendants were aware of multiple airbag non-deployments in ZF-TRW ACUs
 3     installed in vehicles for which the Hyundai-Kia Defendants were responsible to
 4     recall, and vehicles with the ASIC Defect began maiming and killing vehicle
 5     occupants in other manufacturers’ vehicles in the field, Defendants continued to
 6     conceal the nature and scope of the ASIC Defect from regulators and the public.
 7     This enabled Defendants to escape investigation and the costs associated with
 8     recalls.
 9            82.   To further the scheme to defraud, the Hyundai-Kia Defendants
10     conspired with ZF-TRW and MOBIS to, and did repeatedly, misrepresent and
11     conceal the nature and scope of the ASIC Defect. As late as the end of 2017,
12     Defendants refused to publicly acknowledge that a uniform defect existed in all
13     vehicles with ACU components, when in fact Defendants knew that the ASIC
14     Defect was a fundamental, uniform defect—i.e., the vulnerability of the ASIC
15     during a crash event to EOS causing a failed deployment of the airbag and seatbelt
16     pretensioners—that plagues every ZF-TRW ACU, and manifests itself across the
17     country, and the world.
18            83.   To further the scheme to defraud, the Hyundai-Kia Defendants
19     promoted and touted the safety, reliability, and quality of its vehicles, while
20     simultaneously concealing the nature and scope of the ASIC Defect.
21            84.   To carry out or attempt to carry out the scheme to defraud Defendants
22     have conducted or participated in the conduct of the affairs of the Defective ACU
23     RICO Enterprise through the following pattern of racketeering activity that
24     employed the use of the mail and wire facilities, in violation of 18 U.S.C. § 1341
25     (mail fraud) and § 1343 (wire fraud):
26                  (a)   Defendants devised and furthered the scheme to defraud by use
27                  of the mail, telephone, and internet and transmitted or caused to be
28                  transmitted, by means of mail and wire communication travelling in

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 1                  interstate or foreign commerce, writing(s) and/or signal(s), including
 2                  the Hyundai-Kia Defendants’ websites, communications with NHTSA,
 3                  statements to the press, and communications with other members of the
 4                  Defective ACU RICO Enterprise, as well as advertisements and other
 5                  communications to their customers, including Plaintiffs and Class
 6                  members; and
 7                  (b)    Defendants utilized the interstate and international mail and
 8                  wires for the purpose of obtaining money or property, by means of the
 9                  omissions, false pretense, and misrepresentations described herein.
10           85.    Since August of 2011, Defendants’ pattern of racketeering activity in
11     violation of the mail and wire fraud statutes included, but was not limited to, the
12     following:
13                  (a)    From August of 2011 through at least 2017, Defendants
14                  repeatedly transmitted, or caused to be transmitted, by means of the
15                  mail and wire facilities travelling in interstate or foreign commerce,
16                  between the Hyundai-Kia Defendants in California and ZF-TRW’s
17                  facilities in Michigan, countless shipments of, and payments for,
18                  millions of ACUs. These regular, repeated shipments facilitated and
19                  furthered the scheme to defraud.
20                  (b)    Around August of 2011, Defendants transmitted or caused to be
21                  transmitted, by means of mail and wire communication travelling in
22                  interstate or foreign commerce, among the Hyundai-Kia Defendants in
23                  California and ZF-TRW in Michigan, communications concerning an
24                  airbag non-deployment that occurred during a crash in China. ZF-TRW
25                  communicated that the damage to the ASIC was caused by EOS, but
26                  the Hyundai-Kia Defendants represented that incident was a
27                  “commanded nondeployment” and thus was not the result of a defect.
28                  The Hyundai-Kia Defendants failed to timely disclose these facts to the

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 1                public and regulators in order to conceal the scope and nature of the
 2                ASIC Defect and to promote the purported safety of the Hyundai-Kia
 3                Defendants vehicles.
 4                (c)    Around March of 2012, Defendants transmitted or caused to be
 5                transmitted, by means of mail and wire communication travelling in
 6                interstate or foreign commerce, among the Hyundai-Kia Defendants in
 7                California and ZF-TRW in Michigan, communications concerning an
 8                airbag non-deployment that occurred during a crash in Egypt. ZF-TRW
 9                communicated that the damage to the ASIC was caused by EOS, but
10                the Hyundai-Kia Defendants represented that incident was a
11                “commanded nondeployment” and thus was not the result of a defect.
12                The Hyundai-Kia Defendants failed to timely disclose these facts to the
13                public and regulators in order to conceal the scope and nature of the
14                ASIC Defect and to promote the purported safety of the Hyundai-Kia
15                Defendants vehicles.
16                (d)    Around December 1 through December 3 of 2011, Defendants
17                transmitted or caused to be transmitted, by means of mail and wire
18                communication travelling in interstate or foreign commerce, among the
19                Hyundai-Kia Defendants in California and ZF-TRW in Michigan,
20                communications concerning airbag non-deployment that occurred
21                during two vehicle crashes. ZF-TRW communicated that the damage
22                to both ASIC was caused by EOS, but the Hyundai-Kia Defendants
23                represented that one incident was a “commanded nondeployment” and
24                the other was “under investigation.” The Hyundai-Kia Defendants
25                failed to timely disclose these facts to the public and regulators in order
26                to conceal the scope and nature of the ASIC Defect and to promote the
27                purported safety of the Hyundai-Kia Defendants vehicles.
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 1                (e)    On April 25, 2016, Defendants transmitted or caused to be
 2                transmitted, by means of mail and wire communication travelling in
 3                interstate or foreign commerce, among the Hyundai-Kia Defendants in
 4                California and ZF-TRW in Michigan, communications concerning an
 5                airbag non-deployment that occurred during a crash. ZF-TRW
 6                communicated that the damage to the ASIC was caused by EOS, but
 7                the Hyundai-Kia Defendants represented that incident was a
 8                “commanded nondeployment” and thus was not the result of a defect.
 9                The Hyundai-Kia Defendants failed to timely disclose these facts to the
10                public and regulators in order to conceal the scope and nature of the
11                ASIC Defect and to promote the purported safety of the Hyundai-Kia
12                Defendants vehicles.
13                (f)    Around August 24 and August 25 of 2016, Defendants
14                transmitted or caused to be transmitted, by means of mail and wire
15                communication travelling in interstate or foreign commerce, among the
16                Hyundai-Kia Defendants in California and ZF-TRW in Michigan,
17                communications concerning airbag non-deployment that occurred
18                during three vehicle crashes. ZF-TRW communicated that the damage
19                to all three ASIC was caused by EOS, but the Hyundai-Kia Defendants
20                represented    that    all   three   incidents    were     “commanded
21                nondeployments.” The Hyundai-Kia Defendants failed to timely
22                disclose these facts to the public and regulators in order to conceal the
23                scope and nature of the ASIC Defect and to promote the purported
24                safety of the Hyundai-Kia Defendants vehicles.
25                (g)    Between 2011 and the end of 2017, ZF-TRW had knowledge
26                that the Hyundai-Kia Defendants were misrepresenting multiple airbag
27                non-deployment crashes as “commanded nondeployments.” However,
28                ZF-TRW acting in its role as part of the Defective ACU RICO

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 1                Enterprise did not report these misrepresentations to the public or state
 2                or federal regulators. ZF-TRW also failed to report its knowledge of the
 3                ASIC Defect to regulators and the public until many years after
 4                discovering the issues.
 5                (h)    Between and around January and July of 2016, Defendants
 6                caused to be transmitted, by means of mail and wire communication
 7                travelling in interstate or foreign commerce, from the Hyundai-Kia
 8                Defendants in California and ZF-TRW in Michigan to the offices of
 9                federal regulators in Washington, D.C., misrepresentations and
10                omissions regarding the ASIC Defect, including that the defect was not
11                present in Hyundai and Kia brand vehicles. Defendants knew that these
12                statements were false and that the defect was present in millions of its
13                vehicles, and yet it did nothing to meaningfully notify the appropriate
14                regulators or notify the Class.
15                (i)    On or around April 18, 2018, the Hyundai-Kia Defendants
16                caused to be transmitted, by means of mail and wire communication
17                travelling in interstate or foreign commerce, from the Hyundai-Kia
18                Defendants’ offices in California to the offices of federal regulators in
19                Washington, D.C., misrepresentations and omissions regarding the
20                ASIC Defect, including a chronology of events that omitted numerous
21                airbag non-deployments of which the Hyundai-Kia Defendants were
22                aware, in order to conceal the scope and nature of the ASIC Defect and
23                to promote the purported safety of the Hyundai-Kia Defendants
24                vehicles.
25                (j)    On or around August 30, 2018, the Hyundai-Kia Defendants
26                caused to be transmitted, by means of mail and wire communication
27                travelling in interstate or foreign commerce, from the Hyundai-Kia
28                Defendants’ offices in California to the offices of federal regulators in

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 1                 Washington, D.C., misrepresentations and omissions regarding the
 2                 ASIC Defect, including a chronology of events that omitted numerous
 3                 airbag non-deployments of which the Hyundai-Kia Defendants were
 4                 aware, in order to conceal the scope and nature of the ASIC Defect and
 5                 to promote the purported safety of the Hyundai-Kia Defendants
 6                 vehicles.
 7           86.    Defendants’ conduct in furtherance of this scheme was intentional.
 8     Plaintiffs and Class members were directly harmed as a result of Defendants’
 9     intentional conduct. Plaintiffs, Class members, and federal regulators, among
10     others, relied on Defendants’ material misrepresentations and omissions.
11           87.    As described throughout this Complaint, on or after August of 2011,
12     the Hyundai-Kia Defendants, MOBIS, and ZF-TRW conspired to or did engage in
13     a pattern of related and continuous predicate acts. The predicate acts constituted a
14     variety of unlawful activities, each conducted with the common purpose of
15     defrauding Plaintiffs and other Class members—and obtaining significant monies
16     and revenues from them—while providing vehicles with Defective ACUs worth
17     significantly less than the purchase price paid. The predicate acts also had the same
18     or similar results, participants, victims, and methods of commission. The predicate
19     acts were related and not isolated events.
20           88.    The predicate acts all had the purpose of generating significant revenue
21     and profits for Defendants at the expense of Plaintiffs and Class members. The
22     predicate acts were committed or caused to be committed by Defendants through
23     their participation in the Defective ACU RICO Enterprise and in furtherance of its
24     fraudulent scheme and were interrelated in that they involved obtaining Plaintiffs’
25     and Class members’ funds and avoiding the expenses associated with remediating
26     the ASIC Defect.
27           89.    By reason of and as a result of the conduct of Defendants, and in
28     particular, its pattern of racketeering activity, Plaintiffs and Class members have

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 1     been injured in their business and/or property in multiple ways, including but not
 2     limited to:
 3                   (a)    overpayment for leased or purchased Class Vehicles, in that
 4                   Plaintiffs paid for vehicles with safe airbag systems and obtained
 5                   vehicles with anything but, and were deprived of the benefit of their
 6                   bargain; and
 7                   (b)    the values of the Class Vehicles have diminished, thus reducing
 8                   their resale values.
 9           90.     Defendants’ violations of 18 U.S.C. § 1962(c) have directly and
10     proximately caused injuries and damages to Plaintiffs and Class Members, and
11     Plaintiffs and Class Members are entitled to bring this action for three times their
12     actual damages, as well as injunctive/equitable relief and costs and reasonable
13     attorneys’ fees pursuant to 18 U.S.C. § 1964(a) and (c).
14                                           Count 2
15         Violation of the Racketeer Influenced and Corrupt Organizations Act
16                                      18 U.S.C. § 1962(d)
17          91.      Plaintiffs bring this claim on behalf of themselves and members of the
18    Nationwide Class against the Defendants.
19           92.     Plaintiffs re-allege and incorporate the allegations set forth above.
20           93.     At all relevant times, the Hyundai-Kia Defendants, MOBIS, and ZF-
21     TRW were associated with the Defective ACU RICO Enterprise and agreed and
22     conspired to violate 18 U.S.C. § 1962(c), that is, agreed to conduct and participate,
23     directly and indirectly, in the conduct of the affairs of the Defective ACU RICO
24     Enterprise through a pattern of racketeering activity, in violation of 18 U.S.C. §
25     1962(d). The Hyundai-Kia Defendants, MOBIS, and ZF-TRW also agreed to the
26     objective of the conspiracy or to commit at least two racketeering predicate acts.
27           94.     Over the course of the past nine years, Defendants shared information
28     about the Defective ACUs’ inherent flaws, their inability to meet safety

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 1     specifications, and abnormal airbag deployments experienced by other automakers;
 2     delayed and/or prevented the release of inculpatory information; and maintained a
 3     consistent public posture as to the scope of vehicles affected by the Defective ACUs
 4     and the safety risks those airbags posed. Defendants’ close cooperation on issues
 5     surrounding the ASIC Defect and joint participation in predicate acts described
 6     below is evidence of the conspiracy.
 7            95.   Defendants committed, and caused to be committed, a series of overt
 8     acts in furtherance of the conspiracy and to affect the objects thereof.
 9            96.   More specifically, the following conduct and overt acts demonstrate
10     the ongoing conspiracy between the Hyundai-Kia Defendants, MOBIS, and ZF-
11     TRW:
12                  (a)    Defendants continued to encounter non-deployments in ZF-
13                  TRW ACUs installed in Hyundai and Kia branded vehicles, but agreed
14                  to continue representing their vehicles as safe.
15                  (b)    Defendants also agreed to act so as to prevent any recall of the
16                  Defective ACUs. The Hyundai-Kia Defendants did not commence an
17                  official recall for their vehicles until 2018. Even then, the Hyundai-Kia
18                  Defendants limited the scope of the recall to specific car model years.
19                  The Hyundai-Kia Defendants falsely claimed that the risks caused by
20                  the ASIC Defect was not present in any other models not recalled. The
21                  Hyundai-Kia Defendants also mischaracterized the ASIC Defect as
22                  occurring in a lower frequency than was known the Defendants. ZF-
23                  TRW and MOBIS to the date of filing this complaint have never issued
24                  a safety recall of the Defective ACU components.
25            97.   Defendants agreed to and did conduct and participate in the conduct of
26     the Defective ACU RICO Enterprise’s affairs through a pattern of racketeering
27     activity and for the unlawful purpose of defrauding Plaintiffs and Class members,
28     as more fully described above.

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 1           98.    As a direct and proximate result of Defendants’ conspiracy and
 2     violation of 18 U.S.C. § 1962(d), Plaintiffs and Class members have been injured
 3     in their business and/or property in multiple ways, including but not limited to:
 4                 (a)     overpayment for leased or purchased Class Vehicles, in that
 5                 Plaintiffs paid for vehicles with safe airbag systems and obtained
 6                 vehicles with anything but, and have been deprived of the benefit of
 7                 their bargain; and
 8                 (b)     the Class Vehicles’ values have diminished, thus reducing their
 9                 resale values.
10           99.    Had Defendants been entirely forthcoming with NHTSA and with the
11     public in a timely manner about the vast scope of the ASIC Defect and the grave
12     risks it posed to countless vehicle occupants, as was its duty, Plaintiffs would not
13     have suffered these harms. Defendants’ conspiracy to commit mail fraud and/or
14     wire fraud was reasonably calculated to deceive persons of ordinary prudence and
15     comprehension and was committed with reckless indifference to the truth if not the
16     outright intent to deceive.
17           100. Plaintiffs and Class Members seek to hold the Defendants liable only
18     for damages resulting from conduct of the Hyundai-Kia Defendants, MOBIS, ZF-
19     TRW, their co-conspirators, and the Defective ACU RICO Enterprise that occurred
20     on or after August of 2011.
21           101. Defendants’ conspiracy to violate 18 U.S.C. § 1962(c) was committed
22     with the specific intent to defraud, thereby entitling Plaintiffs to treble damages
23     under 18 U.S.C. § 1964(c).
24           102. Defendants’ violations of 18 U.S.C. § 1962(d) have directly and
25     proximately caused injuries and damages to Plaintiffs and Class Members, and
26     Plaintiffs and Class Members are entitled to bring this action for three times their
27     actual damages, as well as injunctive/equitable relief and costs and reasonable
28     attorneys’ fees pursuant to 18 U.S.C. §§ 1964(a) and 1964(c).

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 1                                           Count 3
 2           Violation of the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301
 3           103. Plaintiffs bring this Count against all Hyundai-Kia Defendants, on
 4     behalf of themselves and members of the proposed Nationwide Class.
 5           104. This Court has jurisdiction to decide claims brought under 15 U.S.C.
 6     § 2301 by virtue of 28 U.S.C. § 1332 (a)-(d).
 7           105. The Class Vehicles are “consumer products” within the meaning of the
 8     Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(1).
 9           106. Any efforts to limit the implied warranties in a manner that would
10     exclude coverage of the Class Vehicles is unconscionable, and any such effort to
11     disclaim or otherwise limit liability for the Class Vehicles is null and void.
12           107. Any limitations on the warranties are procedurally unconscionable.
13     There was unequal bargaining power between the Hyundai-Kia Defendants on the
14     one hand, and Plaintiffs and the other Class members, on the other.
15           108. Any limitations on the warranties are substantively unconscionable.
16     The Hyundai-Kia Defendants knew that the Class Vehicles were defective, and
17     would continue to pose safety risks after the warranties purportedly expired. The
18     Hyundai-Kia Defendants failed to disclose the ASIC Defect to Plaintiffs and the
19     other Class members. Thus, the Hyundai-Kia Defendants’ enforcement of the
20     durational limitations on those warranties is harsh and shocks the conscience.
21           109. Plaintiffs and each of the other Class members have had sufficient
22     direct dealings with Hyundai or its agents (dealerships) to establish privity of
23     contract.
24           110. Nonetheless, privity is not required here, because Plaintiffs and each
25     of the other Class members are intended third-party beneficiaries of contracts
26     between the Hyundai-Kia Defendants and their dealers, and specifically, of the
27     implied warranties. The dealers were not intended to be the ultimate consumers of
28     the Class Vehicles, and have no rights under the warranty agreements provided with

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 1     the Class Vehicles; the warranty agreements were designed for, and intended to
 2     benefit, consumers. Finally, privity is also not required because the Class Vehicles
 3     are dangerous instrumentalities due to the ASIC Defect.
 4           111. Pursuant to 15 U.S.C. § 2310(e), Plaintiffs are entitled to bring this
 5     class action, and are not required to give the Hyundai-Kia Defendants notice and an
 6     opportunity to cure, until such time as the Court determines the representative
 7     capacity of Plaintiffs pursuant to Rule 23 of the Federal Rules of Civil Procedure.
 8           112. Furthermore, affording the Hyundai-Kia Defendants an opportunity to
 9     cure their breach of written warranties would be unnecessary and futile here. At the
10     time of sale or lease of each Class Vehicle, The Hyundai-Kia Defendants knew,
11     should have known, or was reckless in not knowing of its misrepresentations and
12     omissions concerning the Class Vehicles’ inability to perform as warranted, but
13     nonetheless failed to rectify the situation and/or disclose the defective design. Under
14     the circumstances, the remedies available under any informal settlement procedure
15     would be inadequate and any requirement that Plaintiffs resort to an informal
16     dispute resolution procedure and/or afford The Hyundai-Kia Defendants a
17     reasonable opportunity to cure their breach of warranties is excused and thereby
18     deemed satisfied.
19           113. Plaintiffs and the other Class members would suffer economic
20     hardship if they returned their Class Vehicles but did not receive the return of all
21     payments made by them. Because the Hyundai-Kia Defendants are refusing to
22     acknowledge any revocation of acceptance and return immediately any payments
23     made, Plaintiffs and the other Class members have not re-accepted their Defective
24     Vehicles by retaining them.
25           114. The amount in controversy of Plaintiffs’ individual claims meets or
26     exceeds the sum of $25. The amount in controversy of this action exceeds the sum
27     of $50,000, exclusive of interest and costs, computed on the basis of all claims to
28     be determined in this lawsuit. Plaintiffs, individually and on behalf of the other

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 1     Class members, seek all damages permitted by law, including diminution in value
 2     of their vehicles, in an amount to be proven at trial. In addition, pursuant to 15
 3     U.S.C. § 2310(d)(2), Plaintiffs and the other Class members are entitled to recover
 4     a sum equal to the aggregate amount of costs and expenses (including attorneys’
 5     fees based on actual time expended) determined by the Court to have reasonably
 6     been incurred by Plaintiffs and the other Class members, in connection with the
 7     commencement and prosecution of this action.
 8           115. Plaintiffs also request, as a form of equitable monetary relief, re-
 9     payment of the out-of-pocket expenses, and costs they have incurred in attempting
10     to rectify the ASIC Defect in their vehicles. Such expenses and losses will continue
11     as Plaintiffs and Class members must take time off from work, pay for rental cars
12     or other transportation arrangements, child care, and the myriad of expenses
13     involved in going through the recall process.
14           116. The right of Class members to recover these expenses as an equitable
15     matter—to put them in the place they would have been but for the Hyundai-Kia
16     Defendants’ conduct—presents common questions of law. Equity and fairness
17     requires the establishment by Court decree, and administration under Court
18     supervision, of a program funded by the Hyundai-Kia Defendants, using
19     transparent, consistent, and reasonable protocols, under which such claims can be
20     made and paid.
21          B. Common Law Claims
22                                           Count 4
23                                            Fraud
24           117. Plaintiffs bring this claim on behalf themselves and the members of
25     the Nationwide Class under the common law of fraud, as there are no true conflicts
26     (case-dispositive differences) among various states’ laws of fraud. In the
27     alternative, Plaintiffs bring this claim under the laws of the states where Plaintiffs
28     and Class Members purchased their Class Vehicles.

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 1           118. The Hyundai-Kia Defendants concealed and suppressed material facts
 2     regarding the Defective ACUs—most the fact that they were equipped with
 3     Defective ACUs which, among other things, fail to deploy airbags or seat belt
 4     pretensioners as a result of the ASIC’s vulnerability to EOS.
 5           119. The Hyundai-Kia Defendants took steps to ensure that its employees
 6     did not reveal the known safety ASIC Defect to regulators or consumers.
 7           120. On information and belief, the Hyundai-Kia Defendants still have not
 8     made full and adequate disclosure, continues to defraud Plaintiffs and the Class,
 9     and continue to conceal material information regarding the ASIC Defect that exists
10     in the Class Vehicles.
11           121. The Hyundai-Kia Defendants had a duty to disclose the ASIC Defect
12     because they:
13                 (a)    Had exclusive and/or far superior knowledge and access to the
14                 facts, and the Hyundai-Kia Defendants knew the facts were not known
15                 to or reasonably discoverable by Plaintiffs and the Class;
16                 (b)    Intentionally concealed the foregoing from Plaintiffs and Class
17                 Members; and
18                 (c)    Made incomplete representations about the safety and reliability
19                 of the Defective ACUs and, by extension, the Class Vehicles, while
20                 purposefully   withholding    material   facts   from Plaintiffs   that
21                 contradicted these representations.
22           122. These omitted and concealed facts were material because they would
23     be relied on by a reasonable person purchasing, leasing, or retaining a new or used
24     motor vehicle and because they directly impact the value of the Class Vehicles
25     purchased or leased by Plaintiffs and the Class. Whether a manufacturer’s products
26     are safe and reliable and whether that manufacturer stands behind its products are
27     material concerns to a consumer. Plaintiffs and Class Members trusted the Hyundai-
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 1     Kia Defendants not to sell or lease them vehicles that were defective or that violated
 2     federal law governing motor vehicle safety.
 3           123. The Hyundai-Kia Defendants concealed and suppressed these material
 4     facts to falsely assure purchasers and consumers that its airbags were capable of
 5     performing safely, as represented by the Hyundai-Kia Defendants and reasonably
 6     expected by consumers.
 7           124. The Hyundai-Kia Defendants also misrepresented the safety and
 8     reliability of their vehicles, because they either (a) knew but did not disclose the
 9     ASIC Defect; (b) knew that they did not know whether their safety and reliability
10     representations were true or false; or (c) should have known that their
11     misrepresentations were false.
12           125. The Hyundai-Kia Defendants and actively concealed and/or
13     suppressed these material facts, in whole or in part, to protect their profits and to
14     avoid recalls that would hurt each brand’s image and cost the Hyundai-Kia
15     Defendants money. The Hyundai-Kia Defendants and ZF-TRW concealed these
16     facts at the expense of Plaintiffs and the Class.
17           126. Plaintiffs and the Class were unaware of these omitted material facts
18     and would not have acted as they did if they had known of the concealed or
19     suppressed facts.
20           127. Had they been aware of the Defective ACUs and the Hyundai-Kia
21     Defendants and callous disregard for safety, Plaintiffs and the Class either would
22     not have paid as much for their Class Vehicles or would not have purchased or
23     leased them at all.
24           128. Plaintiffs did not receive the benefit of their bargain as a result of the
25     Hyundai-Kia Defendants’ fraudulent conduct.
26           129. Because of the concealment and/or suppression of the facts, Plaintiffs
27     and the Class sustained damage because they own vehicles that diminished in value
28     as a result of the Hyundai-Kia Defendants’ concealment of, failure to timely

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 1     disclose, and/or misrepresentations concerning the serious ASIC Defect in millions
 2     of Class Vehicles and the serious safety and quality issues caused by the Hyundai-
 3     Kia Defendants’ conduct.
 4           130. The value of all Class members’ vehicles has diminished as a result of
 5     the Hyundai-Kia Defendants’ fraudulent conduct in connection with the Defective
 6     ACUs and made any reasonable consumer reluctant to purchase any of the Class
 7     Vehicles, let alone pay what otherwise would have been fair market value for the
 8     vehicles.
 9           131. Accordingly, the Hyundai-Kia Defendants are liable to the Class for
10     their damages in an amount to be proven at trial, including, but not limited to, their
11     lost benefit of the bargain or overpayment for the Class Vehicles at the time of
12     purchase, the diminished value of the Defective ACUs and the Class Vehicles,
13     and/or the costs incurred in storing, maintaining or otherwise disposing of the
14     Defective ACUs.
15           132. The Hyundai-Kia Defendants’ acts were done maliciously,
16     oppressively, deliberately, with intent to defraud, and in reckless disregard of
17     Plaintiffs’ and the Class’s rights and well-being and with the aim of enriching the
18     Hyundai-Kia Defendants. The Hyundai-Kia Defendants’ conduct, which exhibits
19     the highest degree of reprehensibility, being intentional, continuous, placing others
20     at risk of death and injury, and effecting public safety, warrants an assessment of
21     punitive damages in an amount sufficient to deter such conduct in the future, which
22     amount is to be determined according to proof.
23                                           Count 5
24                                    Unjust Enrichment
25           133. Plaintiffs bring this claim on behalf of themselves and the members of
26     the Nationwide Class under the common law of unjust enrichment, as there are no
27     true conflicts (case-dispositive differences) among various states’ laws of unjust
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 1     enrichment. In the alternative, Plaintiffs bring this claim under the laws of the states
 2     where Plaintiffs and Class Members reside and/or purchased their Class Vehicles.
 3           134. The Hyundai-Kia Defendants have received and retained a benefit
 4     from the Plaintiffs and inequity has resulted.
 5           135. The Hyundai-Kia Defendants benefitted through their unjust conduct,
 6     by selling Class Vehicles with a concealed safety-and-reliability related defect, at a
 7     profit for more than these Vehicles were worth to Plaintiffs, who overpaid for these
 8     Vehicles, and/or would not have purchased these Vehicles at all; and who have been
 9     forced to pay other costs.
10           136. It is inequitable for the Hyundai-Kia Defendants to retain these
11     benefits.
12           137. Consumer Plaintiffs do not have an adequate remedy at law.
13           138. As a result of the Hyundai-Kia Defendants’ conduct, the amount of its
14     unjust enrichment should be disgorged in an amount to be proven at trial.
15          C. California Statutory Claims
16                                            Count 6
17      Violation of Song-Beverly Consumer Warranty Act for Breach of Implied
18                                  Warranty of Merchantability
19           139. Plaintiffs bring this claim on behalf of themselves and the members of
20     the Class under the laws of California against the Hyundai-Kia Defendants with
21     regard to Class Vehicles that the Hyundai-Kia Defendants manufactured or sold.
22          140.    Plaintiffs and members of the Class are “buyers” within the meaning
23    of Cal. Civ. Code § 1791(b).
24           141. The Class Vehicles are “consumer goods” within the meaning of Cal.
25     Civ. Code § 1791(a).
26           142. The Hyundai-Kia Defendants are a “manufacturer” of the Class
27     Vehicles within the meaning Cal. Civ. Code § 1791(j).
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 1           143. The Hyundai-Kia Defendants impliedly warranted to the Plaintiffs that
 2     their Class Vehicles were “merchantable” within the meaning of Cal. Civ. Code §§
 3     1791.1(a) and 1792; however, the Class Vehicles do not have the quality that a
 4     buyer would reasonably expect, and were therefore not merchantable.
 5           144. Cal. Civ. Code § 1791.1(a) states:
 6           “Implied warranty of merchantability” or “implied warranty that goods are
 7           merchantable” means that the consumer goods meet each of the following:
 8                 1. Pass without objection in the trade under the contract description.
 9                 2. Are fit for the ordinary purposes for which such goods are used.
10                 3. Are adequately contained, packaged, and labeled.
11                 4. Conform to the promises or affirmations of fact made on the
12                 container or label.
13           145. The Class Vehicles would not pass without objection in the automotive
14     trade because they were equipped with Defective ACUs, which among other things,
15     may fail to deploy airbags and seat belt pretensioners in a crash event due to the
16     ASICs being damages by EOS, leading to an unreasonable likelihood of serious
17     bodily injury or death to vehicle occupants, instead of protecting vehicle occupants
18     from bodily injury during accidents.
19           146. Because of the ASIC Defect, the Class Vehicles are not safe to drive,
20     and thus not fit for ordinary purposes.
21           147. The Class Vehicles are not adequately labeled because the labeling
22     fails to disclose the ASIC Defect. The Hyundai-Kia Defendants failed to warn about
23     that dangerous ASIC Defect in the Class Vehicles.
24           148. The Hyundai-Kia Defendants breached the implied warranty of
25     merchantability by manufacturing and selling Class Vehicles equipped with
26     Defective ACUs containing the ASIC Defect which among other things, may fail
27     to deploy airbags and seat belt pretensioners in a crash event due to the ASICs being
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 1     damages by EOS. The Defective ACUs have deprived the Plaintiffs of the benefit
 2     of their bargain, and have caused the Class Vehicles to depreciate in value.
 3           149. Notice of breach is not required because Plaintiffs and the Class did
 4     not purchase their automobiles directly from the Hyundai-Kia Defendants.
 5     Furthermore, on information and belief, the Hyundai-Kia Defendants had notice of
 6     these issues by their knowledge of the issues, through customer complaints,
 7     numerous complaints filed against it and/or others, internal investigations, and
 8     individual letters and communications sent by consumers before the Hyundai-Kia
 9     Defendants issued the recalls and after the allegations of the ASIC Defect became
10     public.
11           150. As a direct and proximate result of the Hyundai-Kia Defendants’
12     breach of their duties under California’s Lemon Law, Plaintiffs and the Class
13     received goods whose dangerous condition substantially impairs their value.
14     Plaintiffs and the Class have been damaged by the diminished value,
15     malfunctioning, and non-use of their Class Vehicles.
16           151. Under Cal. Civ. Code §§ 1791.1(d) and 1794, Plaintiffs and the Class
17     are entitled to damages and other legal and equitable relief including, at their
18     election, the purchase price of their Class Vehicles or the overpayment or
19     diminution in value of their Class Vehicles.
20          152.    Under Cal. Civ. Code § 1794, Plaintiffs and the Class are entitled to
21    costs and attorneys’ fees.
22                                          Count 8
23     Violation of the California Unfair Competition Law Cal. Bus. & Prof. Code §
24                                           17200
25           153. Plaintiffs bring this claim on behalf of themselves and the members of
26     the Class against the Hyundai-Kia Defendants.
27           154. Cal. Bus. & Prof. Code § 17200 prohibits acts of “unfair competition,”
28     including any “unlawful, unfair or fraudulent business act or practice” and “unfair,

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 1     deceptive, untrue or misleading advertising. . . .” The Hyundai-Kia Defendants
 2     engaged in conduct that violated each of this statute’s three prongs.
 3           155. The Hyundai-Kia Defendants committed an unlawful business act or
 4     practice in violation of § 17200 by their violations of the Consumer Legal Remedies
 5     Act and Cal. Civ. Code § 1750 as set forth below, by the acts and practices set forth
 6     in this Complaint.
 7           156. The Hyundai-Kia Defendants also violated the unlawful prong because
 8     they have engaged in violations of the TREAD Act, 49 U.S.C. § 30101, and its
 9     accompanying regulations by failing to promptly notify vehicle owners, purchases,
10     dealers, and NHTSA of the defective Class Vehicles and/or the Defective ACUs
11     installed in them and failing to remedy the ASIC Defect.
12           157. Federal Motor Vehicle Safety Standard (“FMVSS”) 573 governs a
13     motor vehicle manufacturer’s responsibility to notify the NHTSA of a motor
14     vehicle defect within five days of determining that a defect in a vehicle has been
15     determined to be safety-related. See 49 C.F.R. § 573.6.
16           158. The Hyundai-Kia Defendants violated the reporting requirements of
17     FMVSS 573 by failing to report the ASIC Defect or any of the other dangers or
18     risks posed by the Defective ACUs within five days of determining the defect
19     existed, and failing to recall all Class Vehicles.
20           159. The Hyundai-Kia Defendants violated the common-law claim of
21     negligent failure to recall, because the Hyundai-Kia Defendants knew or should
22     have known that the Class Vehicles and/or the Defective ACUs installed in them
23     were dangerous and/or were likely to be dangerous when used in a reasonably
24     foreseeable manner; the Hyundai-Kia Defendants became aware of the attendant
25     risks after they were sold; The Hyundai-Kia Defendants continued to gain
26     information further corroborating the ASIC Defect and dangers posed by it; and the
27     Hyundai-Kia Defendants failed to adequately recall the defective vehicles in a
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 1     timely manner, which failure was a substantial factor in causing harm to Plaintiffs
 2     and the Class, including diminished value and out-of- pocket costs.
 3           160. The Hyundai-Kia Defendants committed unfair business acts and
 4     practices in violation of § 17200 when they concealed the existence and nature of
 5     the ASIC Defect and the dangers and risks posed by the Class Vehicles and/or the
 6     Defective ACUs installed in them. The Hyundai-Kia Defendants represented that
 7     the Class Vehicles and/or the Defective ACUs installed in them were reliable and
 8     safe when, in fact, they are not.
 9           161. The Hyundai-Kia Defendants also violated the unfairness prong of §
10     17200 by failing to properly administer the numerous recalls of Class Vehicles with
11     the Defective ACUs installed in them.
12           162. The Hyundai-Kia Defendants violated the fraudulent prong of § 17200
13     because the misrepresentations and omissions regarding the safety and reliability of
14     the Class Vehicles and/or the Defective ACUs installed in them as set forth in this
15     Complaint were likely to deceive a reasonable consumer and the information would
16     be material to a reasonable consumer.
17           163. The Hyundai-Kia Defendants committed fraudulent business acts and
18     practices in violation of § 17200 when they concealed the existence and nature of
19     the ASIC Defect and the dangers and risks posed by the Class Vehicles and/or the
20     Defective ACUs installed in them, while representing in their marketing,
21     advertising, and other broadly disseminated representations that the Class Vehicles
22     and/or the Defective ACUs installed in them were reliable and safe when, in fact,
23     they are not. The Hyundai-Kia Defendants’ active concealment of the dangers and
24     risks posed by the Class Vehicles and/or the Defective ACUs installed in them are
25     likely to mislead the public with regard to their true defective nature.
26           164. The Hyundai-Kia Defendants violated the unfair prong of § 17200
27     because of the acts and practices set forth in the Complaint, including the
28     manufacture and sale of Class Vehicles and/or the Defective ACUs installed in them

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 1     and The Hyundai-Kia Defendants’ failure to adequately investigate, disclose, and
 2     remedy, offend established public policy, and because of the harm they cause to
 3     consumers greatly outweighs any benefits associated with those practices. The
 4     Hyundai-Kia Defendants’ conduct has also impaired competition within the
 5     automotive vehicles market and has prevented the Plaintiffs and the Class from
 6     making fully informed decisions about whether to purchase or lease Class Vehicles
 7     and/or the Defective ACUs installed in them and/or the price to be paid to purchase
 8     or lease them.
 9           165. Plaintiffs and the Class have suffered injuries in fact, including the loss
10     of money or property, as a result of the Hyundai-Kia Defendants’ unfair, unlawful,
11     and/or deceptive practices. As set forth above, each member of the Class, in
12     purchasing or leasing Class Vehicles with the Defective ACUs installed in them,
13     relied on the misrepresentations and/or omissions of the Hyundai-Kia Defendants
14     with respect of the safety and reliability of the vehicles. Had Plaintiffs and the Class
15     known the truth, they would not have purchased or leased their vehicles and/or paid
16     as much for them.
17           166. All of the wrongful conduct alleged herein occurred and continues to
18     occur in the conduct of the Hyundai-Kia Defendants’ businesses. The Hyundai-Kia
19     Defendants’ wrongful conduct is part of a pattern or generalized course of conduct
20     that is still perpetuated and repeated.
21           167. As a direct and proximate result of the Hyundai-Kia Defendants’
22     unfair and deceptive practices, Plaintiffs and the Class have suffered and will
23     continue to suffer actual damages.
24          168.    Plaintiffs and the Class request that this Court enter such orders or
25    judgments as may be necessary to enjoin the Hyundai-Kia Defendants from
26    continuing its unfair, unlawful, and/or deceptive practices, as provided in Cal. Bus.
27    & Prof. Code § 17203; and for such other relief set forth below.
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 1                                           Count 9
 2         Violation of the Consumer Legal Remedies Act Cal. Civ. Code § 1750
 3           169. Plaintiffs bring this claim on behalf of themselves and the members of
 4     the Class under the laws of California against the Hyundai-Kia Defendants.
 5           170. The Class Vehicles are “goods” as defined in Cal. Civ. Code § 1761(a).
 6           171. The Hyundai-Kia Defendants are “persons” as defined in Cal. Civ.
 7     Code § 1761(c).
 8           172. Plaintiffs and Class members are “consumers” as defined in Cal. Civ.
 9     Code § 1761(d).
10           173. California’s Consumers Legal Remedies Act (“CLRA”), Cal. Civ.
11     Code § 1750, prohibits “unfair or deceptive acts or practices undertaken by any
12     person in a transaction intended to result or which results in the sale or lease of
13     goods or services to any consumer[.]” Cal. Civ. Code § 1770(a).
14           174. The Hyundai-Kia Defendants have engaged in unfair or deceptive acts
15     or practices that violated Cal. Civ. Code § 1750, as described above and below, by
16     among other things, representing that the Class Vehicles and/or the Defective ACUs
17     installed in them have characteristics, uses, benefits, and qualities which they do
18     not have; representing that they are of a particular standard, quality, and grade when
19     they are not; advertising them with the intent not to sell or lease them as advertised;
20     and representing that the subject of a transaction involving them has been supplied
21     in accordance with a previous representation when it has not.
22           175. In the course of its business, the Hyundai-Kia Defendants failed to
23     disclose and actively concealed the dangers and risks posed by the Class Vehicles
24     and/or the Defective ACUs installed in them as described herein and otherwise
25     engaged in activities with a tendency or capacity to deceive.
26           176. The Hyundai-Kia Defendants also engaged in unlawful trade practices
27     by representing that the Class Vehicles and/or the Defective ACUs installed in them
28     have characteristics, uses, benefits, and qualities which they do not have;

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 1     representing that they are of a particular standard and quality when they are not;
 2     advertising them with the intent not to sell or lease them as advertised; and omitting
 3     material facts in describing them. The Hyundai-Kia Defendants are directly liable
 4     for engaging in unfair and deceptive acts or practices in the conduct of trade or
 5     commerce in violation of the CLRA. Defendant parent companies are also liable
 6     for their subsidiaries’ violation of the CLRA, because the subsidiaries act and acted
 7     as the parent companies’ general agents in the United States for purposes of sales
 8     and marketing.
 9           177. The Hyundai-Kia Defendants have known of the ASIC Defect in the
10     Defective ACUs since at least August of 2011, when the airbag non-deployment
11     crashes were first attributed to damage of the ASIC by EOS. The Hyundai-Kia
12     Defendants failed to disclose and actively concealed the dangers and risks posed by
13     the Class Vehicles and/or the Defective ACUs installed in them.
14           178. By failing to disclose and by actively concealing the ASIC Defect in
15     the Class Vehicles and/or the Defective ACUs installed in them, by marketing them
16     as safe, reliable, and of high quality, and by presenting themselves as reputable
17     manufacturers that value safety, the Hyundai-Kia Defendants engaged in unfair or
18     deceptive business practices in violation of the CLRA. The Hyundai-Kia
19     Defendants deliberately withheld the information about the propensity of the
20     Defective ACUs to fail to deploy airbags and seat belt pretensioners in a crash event
21     due to the ASICs being damages by EOS, instead of protecting vehicle occupants
22     from bodily injury during accidents, in order to ensure that consumers would
23     purchase the Class Vehicles.
24           179. The      Hyundai-Kia      Defendants    intentionally    and   knowingly
25     misrepresented material facts regarding the Class Vehicles and/or the Defective
26     ACUs installed in them with an intent to mislead the California Consumer Plaintiffs
27     and the California Consumer Class.
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 1           180. The Hyundai-Kia Defendants knew or should have known that their
 2     conduct violated the CLRA.
 3           181. As alleged above, the Hyundai-Kia Defendants made material
 4     statements about the safety and reliability of the Class Vehicles and/or the Defective
 5     ACUs installed in them that were either false or misleading. The Hyundai-Kia
 6     Defendants’ representations, omissions, statements, and commentary have included
 7     selling and marketing the Class Vehicles as “safe” and “reliable,” despite its
 8     knowledge of the ASIC Defect or its failure to reasonably investigate it.
 9           182. To protect their profits and to avoid remediation costs and a public
10     relations nightmare, the Hyundai-Kia Defendants concealed the dangers and risks
11     posed by the Class Vehicles and/or the Defective ACUs installed in them and their
12     tragic consequences and allowed unsuspecting new and used car purchasers to
13     continue to buy/lease the Class Vehicles and to continue driving highly dangerous
14     vehicles.
15           183. The Hyundai-Kia Defendants owed the Plaintiffs and the Class a duty
16     to disclose the true safety and reliability of the Class Vehicles and/or the Defective
17     ACUs installed in them because the Hyundai-Kia Defendants:
18                 (a)     Possessed exclusive knowledge of the dangers and risks posed
19                 by the foregoing;
20                 (b)     Intentionally concealed the foregoing from Plaintiffs and the
21                 Class; and/or
22                 (c)     Made incomplete representations about the safety and reliability
23                 of the foregoing generally, while purposefully withholding material
24                 facts from the Plaintiffs and the Class that contradicted these
25                 representations.
26           184. The Class Vehicles and/or the Defective ACUs installed in them posed
27     and/or pose an unreasonable risk of death or serious bodily injury to the Class,
28     passengers, other motorists, pedestrians, and the public at large, because the

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 1     Defective ACUs are inherently defective and dangerous in that the Defective ACUs
 2     will not deploy lifesaving safety measures of airbags and seatbelt pretensioners,
 3     which increases the risk of bodily injury during accidents to drivers and passengers.
 4           185. The Hyundai-Kia Defendants’ unfair or deceptive acts or practices
 5     were likely to deceive reasonable consumers, including the Class, about the true
 6     safety and reliability of the Class Vehicles and/or the Defective ACUs installed in
 7     them. The Hyundai-Kia Defendants intentionally and knowingly misrepresented
 8     material facts regarding the Class Vehicles and/or the Defective ACUs installed in
 9     them with an intent to mislead the Class.
10           186. The Hyundai-Kia Defendants has also violated the CLRA by violating
11     the TREAD Act, 49 U.S.C. § 30101, and its accompanying regulations by failing
12     to promptly notify vehicle owners, purchases, dealers, and NHTSA of the defective
13     Class Vehicles and/or the Defective ACUs installed in them and failing to remedy
14     the ASIC Defect.
15           187. Under the TREAD Act and its regulations, if a manufacturer learns
16     that a vehicle contains a defect and that defect is related to motor vehicle safety, the
17     manufacturer must disclose the defect. 49 U.S.C. § 30118(c)(1) & (2).
18           188. Under the TREAD Act, if it is determined that the vehicle is defective,
19     the manufacturer must promptly notify vehicle owners, purchasers, and dealers of
20     the defect and remedy the defect. 49 U.S.C. § 30118(b)(2)(A) & (B).
21           189. Under the TREAD Act, manufacturers must also file a report with
22     NHTSA within five working days of discovering “a defect in a vehicle or item of
23     equipment has been determined to be safety related, or a noncompliance with a
24     motor vehicle safety standard has been determined to exist.” 49 C.F.R. § 573.6(a)
25     & (b). At a minimum, the report to NHTSA must include: the manufacturer’s name;
26     the identification of the vehicles or equipment containing the defect, including the
27     make, line, model year, and years of manufacturing; a description of the basis for
28     determining the recall population; how those vehicles differ from similar vehicles

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 1     that the manufacturer excluded from the recall; and a description of the defect. 49
 2     C.F.R. § 276.6(b), (c)(1), (c)(2), & (c)(5).
 3           190. The manufacturer must also promptly inform NHTSA regarding: the
 4     total number of vehicles or equipment potentially containing the defect; the
 5     percentage of vehicles estimated to contain the defect; a chronology of all principal
 6     events that were the basis for the determination that the defect related to motor
 7     vehicle safety, including a summary of all warranty claims, field or service reports,
 8     and other information, with its dates of receipt; and a description of the plan to
 9     remedy the defect. 49 C.F.R. § 276.6(b) & (c).
10           191. The TREAD Act provides that any manufacturer who violates 49
11     U.S.C. § 30166 must pay a civil penalty to the U.S. Government. The current
12     penalty “is $7,000 per violation per day,” and the maximum penalty “for a related
13     series of daily violations is $17,350,000.” 49 C.F.R. § 578.6(c).
14           192. The Hyundai-Kia Defendants engaged in deceptive business practices
15     prohibited by the CLRA and Cal. Civ. Code § 1750, by failing to disclose and by
16     actively concealing dangers and risks posed by the Defective ACUs, by selling
17     vehicles while violating the TREAD Act, and by other conduct as alleged herein.
18           193. The Hyundai-Kia Defendants knew that the Class Vehicles and/or the
19     Defective ACUs installed in them contained the ASIC Defect that could cause a
20     failure of deployment of airbags and seat belt pretensioners, but the Hyundai-Kia
21     Defendants failed for many years to inform NHTSA of this defect. Consequently,
22     the public, including the Class, received no notice of the ASIC Defect. The
23     Hyundai-Kia Defendants failed to inform NHTSA or warn the Class, and the public
24     about these inherent dangers, despite having a duty to do so.
25           194. The Hyundai-Kia Defendants’ unfair or deceptive acts or practices
26     were likely to and did in fact deceive reasonable consumers, including the Class
27     members, about the true safety and reliability of the Class Vehicles and/or the
28     Defective ACUs installed in them.

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 1            195. Because the Hyundai-Kia Defendants fraudulently concealed the
 2     ASIC Defect in Class Vehicles and/or the Defective ACUs installed in them,
 3     resulting in negative publicity once the ASIC Defect finally began to be disclosed,
 4     the value of the Class Vehicles has greatly diminished. In light of the stigma
 5     attached to Class Vehicles by the Hyundai-Kia Defendants’ conduct, they are now
 6     worth significantly less than they otherwise would be.
 7            196. The Hyundai-Kia Defendants’ failure to disclose and active
 8     concealment of the dangers and risks posed by the Defective ACUs in Class
 9     Vehicles were material to the Class. A vehicle made by a reputable manufacturer of
10     safe vehicles is worth more than an otherwise comparable vehicle made by a
11     disreputable manufacturer of unsafe vehicles that conceals defects rather than
12     promptly remedies them.
13            197. The Class suffered ascertainable loss caused by the Hyundai-Kia
14     Defendants’ misrepresentations and its failure to disclose material information. Had
15     they been aware of the ASIC Defect that existed in the Class Vehicles and/or the
16     Defective ACUs installed in them and the Hyundai-Kia Defendants’ complete
17     disregard for safety, the Class members either would not have paid as much for their
18     vehicles as they did or would not have purchased or leased them at all. Class
19     members did not receive the benefit of their bargain as a result of the Hyundai-Kia
20     Defendants’ misconduct.
21            198. The Class risk irreparable injury as a result of the Hyundai-Kia
22     Defendants’ acts and omissions in violation of the CLRA, and these violations
23     present a continuing risk to the Class, as well as to the general public. The Hyundai-
24     Kia Defendants’ unlawful acts and practices complained of herein affect the public
25     interest.
26            199. The recalls and repairs instituted by The Hyundai-Kia Defendants have
27     not been adequate. The recall is not an effective remedy and is not offered for all
28     Class Vehicles and other vehicles with Defective ACUs susceptible to the

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 1     malfunctions described herein. Moreover, The Hyundai-Kia Defendants’ failure to
 2     comply with TREAD Act disclosure obligations continues to pose a grave risk to
 3     the Class.
 4           200. As a direct and proximate result of the Hyundai-Kia Defendants’
 5     violations of the CLRA, the Class members have suffered injury-in-fact and/or
 6     actual damage. The Class currently own or lease or within the class period have
 7     owned or leased Class Vehicles with Defective ACUs installed in them that are
 8     defective and inherently unsafe. The Class risk irreparable injury as a result of the
 9     Hyundai-Kia Defendants’ acts and omissions in violation of the CLRA, and these
10     violations present a continuing risk to the Class, as well as to the general public.
11           D. Louisiana Statutory Claims
12                                          Count 10
13          Breach of Implied Warranty of Merchantability/ Warranty against
14                     Redhibitory Defects (La. Civ. Code Art. 2520, 2524)
15           201. Plaintiffs bring this claim on behalf of themselves and the members of
16     the Class under the laws of Louisiana against the Hyundai-Kia Defendants with
17     regard to Class Vehicles that the Hyundai-Kia Defendants manufactured or sold.
18           202. The Hyundai-Kia Defendants were at all relevant times “merchants”
19     with respect to motor vehicles.
20           203. At the time Plaintiffs and the Class acquired their Class Vehicles, those
21     vehicles had a redhibitory defect within the meaning of La. Civ. Code Ann. art.
22     2520, in that (a) the Class Vehicles and/or the Defective ACUs installed in them
23     were rendered so inconvenient that Plaintiffs either would not have purchased the
24     Class Vehicles had they known of the ASIC Defect, or, because the Defective ACUs
25     so diminished the usefulness and/or value of the Class Vehicles such that it must be
26     presumed that the Plaintiffs would not have purchased the Class Vehicles, but for a
27     lesser price.
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 1           204. No notice of the defect is required under La. Civ. Code Ann. art. 2520,
 2     since the Hyundai-Kia Defendants had knowledge of the ASIC Defect in the Class
 3     Vehicles and/or the Defective ACUs installed in them at the time they were sold to
 4     Plaintiffs and the Class. Furthermore, on information and belief, the Hyundai-Kia
 5     Defendants had notice of these issues by their knowledge of the issues, through
 6     customer complaints, numerous complaints filed against it and/or others, internal
 7     investigations, and individual letters and communications sent by consumers before
 8     the Hyundai-Kia Defendants issued the recalls and after the allegations of the ASIC
 9     Defect became public.
10           205. Under La. Civ. Code Ann. art. 2524, a warranty that the Class Vehicles
11     and/or the Defective ACUs installed in them were in merchantable condition, or fit
12     for ordinary use, was implied by law in the transactions when Plaintiffs and Class
13     members purchased their Class Vehicles.
14           206. The Class Vehicles and/or the Defective ACUs installed in them, when
15     sold and at all times thereafter, were not merchantable and are not fit for the ordinary
16     purpose for which cars and airbags are used. Specifically, they are inherently
17     defective and dangerous in that the Defective ACUs which among other things, may
18     fail to deploy airbags and seat belt pretensioners in a crash event due to the ASICs
19     being damages by EOS, leading to an unreasonable likelihood of serious bodily
20     injury or death to vehicle occupants, instead of protecting vehicle occupants from
21     bodily injury during accidents.
22           207. As a direct and proximate result of the Hyundai-Kia Defendants’
23     breach of the warranties of merchantability, Plaintiffs and the Class have been
24     damaged in an amount to be proven at trial.
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 1                                          Count 11
 2           Violations of the Louisiana Unfair Trade Practices and Consumer
 3                    Protection Law (La. Rev. Stat. § 51:1401, et seq.)
 4           208. Plaintiffs bring this claim on behalf of themselves and the members of
 5     the Class under the laws of Louisiana against the Hyundai-Kia Defendants with
 6     regard to Class Vehicles that the Hyundai-Kia Defendants manufactured or sold.
 7           209. The Hyundai-Kia Defendants, Plaintiffs, and the Louisiana State Class
 8     members are “persons” within the meaning of La. Rev. Stat. § 51:1402(8). Plaintiffs
 9     and the Class members are “consumers” within the meaning of La. Rev. Stat. §
10     51:1402(1).
11           210. The Hyundai-Kia Defendants are engaged in “trade” or “commerce”
12     within the meaning of La. Rev. Stat. § 51:1402(10).
13           211. The Louisiana Unfair Trade Practices and Consumer Protection Law
14     (“Louisiana CPL”) makes unlawful “deceptive acts or practices in the conduct of
15     any trade or commerce.” 28 La. Rev. Stat. § 51:1405(A). The Hyundai-Kia
16     Defendants both participated in misleading, false, or deceptive acts that violated the
17     Louisiana CPL. By failing to disclose and actively concealing the dangers and risks
18     posed by the Class Vehicles and/or the Defective ACUs installed in them, the
19     Hyundai-Kia Defendants engaged in deceptive business practices prohibited by the
20     Louisiana CPL.
21           212. In the course of their business, the Hyundai-Kia Defendants failed to
22     disclose and actively concealed the dangers and risks posed by the Class Vehicles
23     and/or the Defective ACUs installed in them as described herein and otherwise
24     engaged in activities with a tendency or capacity to deceive. The Hyundai-Kia
25     Defendants also engaged in unlawful trade practices by employing deception,
26     deceptive acts or practices, fraud, misrepresentations, or concealment, suppression
27     or omission of any material fact with intent that others rely upon such concealment,
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 1     suppression or omission, in connection with the sale of the Class Vehicles and/or
 2     the Defective ACUs installed in them.
 3           213. As alleged above, the Hyundai-Kia Defendants have known of the
 4     ASIC Defect in the Defective ACUs since at least August of 2011, including
 5     through ACU development, testing incidents, and public recalls. The Hyundai-Kia
 6     Defendants failed to disclose and actively concealed the dangers and risks posed by
 7     the Class Vehicles and/or the Defective ACUs installed in them.
 8           214. By failing to disclose and by actively concealing the ASIC Defect in
 9     the Class Vehicles and/or the Defective ACUs installed in them, by marketing them
10     as safe, reliable, and of high quality, and by presenting themselves as reputable
11     manufacturers that value safety, the Hyundai-Kia Defendants engaged in unfair or
12     deceptive business practices in violation of the Louisiana CPL. The Hyundai-Kia
13     Defendants deliberately withheld the information about the propensity of the
14     Defective ACUs which among other things, may fail to deploy airbags and seat belt
15     pretensioners in a crash event due to the ASICs being damages by EOS, leading to
16     an unreasonable likelihood of serious bodily injury or death to vehicle occupants,
17     instead of protecting vehicle occupants from bodily injury during accidents, in order
18     to ensure that consumers would purchase the Class Vehicles.
19           215. In the course of the Hyundai-Kia Defendants’ business, they willfully
20     failed to disclose and actively concealed the dangerous risks posed by the ASIC
21     Defect discussed above. The Hyundai-Kia Defendants compounded the deception
22     by repeatedly asserting that the Class Vehicles and/or the Defective ACUs installed
23     in them were safe, reliable, and of high quality, and by claiming to be reputable
24     manufacturers that value safety.
25           216. The Hyundai-Kia Defendants’ unfair or deceptive acts or practices,
26     including these concealments, omissions, and suppressions of material facts, had a
27     tendency or capacity to mislead and create a false impression in consumers, and
28     were likely to and did in fact deceive reasonable consumers, including Plaintiffs

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 1     and the Class, about the true safety and reliability of Class Vehicles and/or the
 2     Defective ACUs installed in them, the quality of the Hyundai-Kia Defendants’
 3     brands, and the true value of the Class Vehicles.
 4           217. The      Hyundai-Kia      Defendants     intentionally   and   knowingly
 5     misrepresented material facts regarding the Class Vehicles and/or the Defective
 6     ACUs installed in them with an intent to mislead Plaintiffs and the Class.
 7           218. The Hyundai-Kia Defendants knew or should have known that their
 8     conduct violated the Louisiana CPL.
 9           219. As alleged above, the Hyundai-Kia Defendants made material
10     statements about the safety and reliability of the Class Vehicles and/or the Defective
11     ACUs installed in them that were either false or misleading. The Hyundai-Kia
12     Defendants’ representations, omissions, statements, and commentary have included
13     selling and marketing the Class Vehicles as safe and reliable, despite their
14     knowledge of the ASIC Defect or their failure to reasonably investigate it.
15           220. To protect their profits and to avoid remediation costs and a public
16     relations nightmare, the Hyundai-Kia Defendants concealed the dangers and risks
17     posed by the Class Vehicles and/or the Defective ACUs installed in them and their
18     tragic consequences, and allowed unsuspecting new and used car purchasers to
19     continue to buy/lease the Class Vehicles, and allowed them to continue driving
20     highly dangerous vehicles.
21           221. The Hyundai-Kia Defendants owed Plaintiffs and the Class a duty to
22     disclose the true safety and reliability of the Class Vehicles and/or the Defective
23     Airbags installed in them because the Hyundai-Kia Defendants:
24                 (a)     Possessed exclusive knowledge of the dangers and risks posed
25                 by the foregoing;
26                 (b)     Intentionally concealed the foregoing from Plaintiffs and the
27                 Class; and/or
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 1                 (c)     Made incomplete representations about the safety and reliability
 2                 of the foregoing generally, while purposefully withholding material
 3                 facts from Plaintiffs and the Class that contradicted these
 4                 representations.
 5           222. Because the Hyundai-Kia Defendants fraudulently concealed the
 6     ASIC Defect in Class Vehicles and/or the Defective ACUs installed in them,
 7     resulting in negative publicity once the ASIC Defect finally began to be disclosed,
 8     the value of the Class Vehicles has greatly diminished. In light of the stigma
 9     attached to Class Vehicles by the Hyundai-Kia Defendants’ conduct, they are now
10     worth significantly less than they otherwise would be.
11           223. The Hyundai-Kia Defendants’ failure to disclose and active
12     concealment of the dangers and risks posed by the Defective ACUs in Class
13     Vehicles were material to Plaintiffs and the Louisiana Consumer Sub-Class. A
14     vehicle made by a reputable manufacturer of safe vehicles is worth more than an
15     otherwise comparable vehicle made by a disreputable manufacturer of unsafe
16     vehicles that conceals defects rather than promptly remedies them.
17           224. Plaintiffs and the Class suffered ascertainable loss caused by the
18     Hyundai-Kia Defendants’ misrepresentations and their failure to disclose material
19     information. Had they been aware of the ASIC Defect that existed in the Class
20     Vehicles and/or the Defective ACUs installed in them, and the Hyundai-Kia
21     Defendants’ complete disregard for safety, Plaintiffs and the Class either would not
22     have paid as much for their vehicles or not purchased or leased them at all. Plaintiffs
23     and the Class did not receive the benefit of their bargain as a result of the Hyundai-
24     Kia Defendants’ misconduct.
25           225. The Hyundai-Kia Defendants’ violations present a continuing risk to
26     Plaintiffs, the Class, as well as the general public. The Hyundai-Kia Defendants’
27     unlawful acts and practices complained of herein affect the public interest.
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 1           226. As a direct and proximate result of the Hyundai-Kia Defendants’
 2     violations of the Louisiana CPL, Plaintiffs and the Class have suffered injury-in-
 3     fact and/or actual damage.
 4           227. Pursuant to La. Rev. Stat. § 51:1409, Plaintiffs and the Class seek to
 5     recover actual damages in an amount to be determined at trial; treble damages for
 6     the Hyundai-Kia Defendants’ knowing violations of the Louisiana CPL; an order
 7     enjoining the Hyundai-Kia Defendants’ unfair, unlawful, and/or deceptive
 8     practices; declaratory relief; attorneys’ fees; and any other just and proper relief
 9     available under La. Rev. Stat. § 51:1409.
10                                    PRAYER FOR RELIEF
11           1.     Plaintiffs, on behalf of themselves and all others similarly situated,
12     request the Court to enter judgment against the Hyundai-Kia Defendants and ZF-
13     TRW, as follows:
14                 (a)    An order certifying the proposed Class, designating Plaintiffs as
15                 the named representatives of the Class, designating the undersigned as
16                 Class Counsel, and making such further orders for the protection of
17                 Class members as the Court deems appropriate, under Fed. R. Civ. P.
18                 23;
19                 (b)    An order enjoining the Hyundai-Kia Defendants to desist from
20                 further deceptive distribution, sales, and lease practices with respect to
21                 the Class Vehicles and such other injunctive relief that the Court deems
22                 just and proper;
23                 (c)    An award to Plaintiffs and Class Members of compensatory,
24                 exemplary, and punitive remedies and damages and statutory penalties,
25                 including interest, in an amount to be proven at trial;
26                 (d)    An award to Plaintiffs and Class Members for the return of the
27                 purchase prices of the Class Vehicles, with interest from the time it was
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 1                paid, for the reimbursement of the reasonable expenses occasioned by
 2                the sale, for damages, and for reasonable attorney fees;
 3                (e)    A Defendant-funded program, using transparent, consistent, and
 4                reasonable protocols, under which out-of-pocket and loss-of-use
 5                expenses and damages claims associated with the Defective ACUs in
 6                Plaintiffs’ and Class Members’ Class Vehicles, can be made and paid,
 7                such that the Hyundai-Kia Defendants and ZF-TRW, not the Class
 8                Members, absorb the losses and expenses fairly traceable to the recalls
 9                of the vehicles and correction of the Defective ACUs;
10                (f)    A declaration that the Hyundai-Kia Defendants and ZF-TRW
11                must disgorge, for the benefit of Plaintiff and Class Members, all or
12                part of the ill-gotten profits they received from the sale or lease of the
13                Class Vehicles or make full restitution to Plaintiffs and Class Members;
14                (g)    An award of attorneys’ fees and costs, as allowed by law;
15                (h)    An award of prejudgment and post judgment interest, as
16                provided by law;
17                and
18                (i)    Such other relief as may be appropriate under the circumstances.
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 1                            DEMAND FOR JURY TRIAL
 2          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs
 3    demand a jury trial as to all issues triable by a jury.
 4                                                  BARON & BUDD, P.C.
       Dated: April 29, 2019
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